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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

  EDUARDO ORTIZ, individually and on                 Case No. 2:19-cv-20543-KM-ESK
  behalf of all others similarly situated,
                                                     THIRD AMENDED CLASS ACTION
         Plaintiff,                                  COMPLAINT FOR VIOLATIONS OF THE
                                                     FEDERAL SECURITIES LAWS
         v.
                                                     JURY TRIAL DEMANDED
  CANOPY GROWTH CORPORATION,
  BRUCE LINTON, MARK ZEKULIN, MIKE
  LEE, TIM SAUNDERS, DAVID KLEIN, and
  RADE KOVACEVIC,

         Defendants.


        Lead Plaintiffs Anthony Sultan, Ellaine Sultan, Anna Cooney, Formica Industries

 Limited, David Pendola, and Dean K. Lurie (collectively, “Plaintiffs”), individually and

 on behalf of all other persons similarly situated, by Plaintiffs’ undersigned attorneys, for

 Plaintiffs’ Third Amended Complaint against Defendants Canopy Growth Corporation

 (“Canopy” or “Company”), Bruce Linton, Mark Zekulin, Tim Saunders, Mike Lee, David

 Klein, and Rade Kovacevic allege the following based upon personal knowledge as to

 Plaintiffs and Plaintiffs’ own acts, and information and belief as to all other matters,

 based upon, inter alia, the investigation conducted by and through their attorneys, which

 included, among other things, conference calls and announcements made by Defendants,

 wire and press releases published by and regarding Canopy, United States Securities and

 Exchange Commission (“SEC”) filings by Canopy, media and analyst reports, interviews

 with witnesses and former employees, and information readily obtainable from public




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 sources. Plaintiffs believe that substantial evidentiary support will exist for the allegations

 set forth herein after a reasonable opportunity for discovery.1

 I.     NATURE OF THE ACTION

        1.      This is a federal securities class action on behalf of a class consisting of all

 persons and entities, other than Defendants and their affiliates, who purchased or

 otherwise acquired publicly traded Canopy securities sold on the New York Stock

 Exchange (“NYSE”) between June 27, 2018, and May 28, 2020, both dates inclusive

 (“Class Period”). Defendants’ violations of Sections 10(b) and 20(a) of the Securities

 Exchange Act of 1934 (“Exchange Act”) and Rule 10b-5 promulgated thereunder caused

 Plaintiffs to suffer damages.

        2.      In anticipation of the Canadian legal recreational cannabis market, and

 continuing after legal recreational sales began, Canopy Growth exponentially built up its

 cannabis grow facilities with the goal of producing premium cannabis products from

 “bud” grade cannabis plants, the highest grade of cannabis plants. Canopy touted its

 acquisitions of and retrofitting of enormous greenhouses that were previously used to

 grow vegetables, and that the retrofitted facilities allowed Canopy to produce more

 cannabis than any competitor.

        3.      But Canopy failed miserably in growing “bud” grade cannabis. The

 retrofitted warehouses were plagued with lighting, humidity, mold, and watering

 problems. Canopy grew massive amounts of low-quality cannabis, and Defendants—who

 1
  The Court granted Plaintiffs leave to file this Third Amended Complaint. ECF No. 72 at
 85. The Third Amended Complaint provides new information and allegations supporting
 a strong inference of scienter. Plaintiffs reallege the allegations from the Second
 Amended Complaint both to provide context for the new allegations and to preserve their
 appellate rights. For ease of comparison, a redlined document showing the additions and
 subtractions in the Third Amended Complaint is attached.

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 visited the facilities and saw the low-quality cannabis plants—knew that it was low-

 quality. Defendants’ only alternative to throwing out all of the low-quality cannabis they

 grew was to create cannabis extracts, specifically cannabis oils and gelcaps. So Canopy

 built up an enormous inventory of oils and gelcaps, more than it could ever hope to sell,

 because it had no choice.

        4.      Throughout the Class Period Defendants lied about their inventory buildup,

 telling investors that they built up the cannabis oils and gelcaps inventory to meet

 Canopy’s expectation of market demand. Defendants knew, however, that the oils and

 gelcaps inventory buildup had nothing to do with any reasoned expectations of market

 demand for those products, but was due to their calamitous failures to grow high-quality

 cannabis in their expanded and inadequate facilities. Further, Defendants knew at all times

 that they had no data to support their exponential increase in both inventory and in the

 total square footage of their poorly equipped grow and production facilities.

        5.      Defendants never told the market that Canopy was growing low-quality

 cannabis in its greatly expanded operation, of the problems with Canopy’s grow facilities,

 or that Canopy was stuck with tens of millions of dollars worth of unsellable oils and

 gelcaps that the Company knew it could never sell because there was no other use for the

 low-quality cannabis. Nor did Canopy tell investors that it knew, long before the end of

 the Class Period, that it would have to write off those tens of millions of dollars of

 cannabis oils and gelcaps inventory, and that it should have done so much earlier than it

 did. Finally, Defendants admitted at the end of the Class Period that part of the strategy for

 pushing product into the market was to strengthen their brands, and not because of market

 demand for their products. Even then, Defendants did not tell the market about the low-



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 quality cannabis, and its role in the unsellable inventory buildup. When the truth about

 inventory and the expansion of Canopy’s grow facilities was revealed, Canopy’s stock

 price dropped precipitously, and investors suffered.

           6.     Legal sales for recreational use of dry flower cannabis2 (smoked), and

 cannabis derivatives—oils (sprayed on the tongue), and gelcaps3 (swallowed)—began on

 October 17, 2018. Canopy, Canada’s largest cannabis company, boasted to investors that

 it had positioned itself to lead in the recreational market as it did in Canada’s medical

 cannabis market. Canopy knew that the sales model for recreational cannabis would be

 completely different than for medical cannabis. Medical sales were through direct

 business-to-consumer mail orders to individuals. The much larger legal recreational

 market would consist of business-to-business transactions between cannabis companies

 and Canadian provincial governmental entities, as well as direct sales to consumers from

 brick-and mortar stores.

           7.     In the run-up to Canada’s legalization of recreational cannabis and after

 legalization, Canopy touted its “market expectations” for recreational dry flower, oils, and

 gelcaps, and greatly increased its inventory of these products based, Defendants stated,

 only on expected demand. Even a year before legal recreational cannabis sales began in

 October of 2018, Canopy emphasized its exponential scaling of grow facilities and

 inventory to meet its “commit[ment] to expanding throughout the coming years to meet

 the demand this system will create.” Defendants, however, never told the market about

 their failure to grow high-quality cannabis or about the inadequate conditions in their grow


 2
     “Dry flower cannabis” is sometimes referred to as “dry flower” or “dry cannabis.”
 3
     Defendants sometimes refer to gelcaps as “softgels” or “soft-gels.”

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 facilities, failures that pre-dated the start of legal recreational sales, and necessitated

 turning those low-quality plants into extracts they knew they could never sell. Further,

 Defendants hid from investors that they had no idea of the potential size of the recreational

 market for these products, and had no data accurately to justify their statements about

 market demand for these products or its share of that demand.

          8.      Complicating Canopy’s market expectations, each Canadian province

 would decide for itself whether to run legal cannabis stores itself or to allow privately-

 owned stores, and regulate online or store sales as each province saw fit. Well before legal

 sales began, Defendants knew that Ontario, Canada’s most populous and important market

 with 37% of Canada’s population, would not even open its first store until April 1, 2019,

 five months after the legal recreational market opened, further complicating Canopy’s

 ability to understand demand. While Defendants confidently conveyed their knowingly

 false market expectations to the public, they had no idea when Canopy would ship oils,

 gelcaps, or dry flower cannabis products to Ontario for recreational sale. When

 recreational sales became legal in October 2018, Canopy had opened only 18 stores in all

 of Canada, and none in Ontario. Canopy’s “market expectations” imagined a market that it

 knew did not exist and that was not developing.

          9.      In an August 2019 partial disclosure, Defendants revealed that sales of oils

 and gelcaps were not keeping pace with its exponential inventory growth. In disclosing

 financial results for the quarter ended June 30, 2019,4 Defendants reversed $8 million5 in

 previously recorded revenue because of returned oils and gelcaps. Surprised, analysts


 4
     Canopy’s fiscal year runs from April 1 to March 31.
 5
   All “$” figures are in Canadian dollars, except for references to Canopy’s stock price on
 the U.S. Exchange.

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 asked why oils and gelcaps sales for the quarter were “essentially zero,” and whether the

 returns were a one-time event or if investors could expect future revenue reductions.

 Disclosing for the first time that provinces could return product without limitation,

 Defendants insisted that further material returns would not affect future profits. The write-

 down, they claimed falsely, was merely “precautionary.”

        10.     Defendants lied to the market in August 2019. Defendants knew, but never

 told the market, that they had no market-demand-based reason for creating their enormous

 inventory, and that far more of Canopy’s oils and gelcaps inventory would have to be

 written off. They knew that the demand for oils and gelcaps could never match Canopy’s

 inventory level because they knew the decision to build up oils and gelcaps inventory was

 an act of desperation, not a response to perceived demand. Telling the market none of

 these truths, investors had no idea that Canopy had failed in its efforts to grow high-

 quality cannabis.

        11.     Further supporting a strong inference of scienter, during the Class Period

 Defendant Linton and his co-CEO and then-successor and sole CEO, Defendant Zekulin,

 earned millions of dollars in profit through suspiciously timed insider trading on the

 Toronto stock exchange. On June 26, 2019, just days before Linton was fired and shortly

 before Canopy announced in August 2019 that it was writing off revenue due to the

 oversupply of oils and gelcaps. Defendant Zekulin sold 100% of his direct and indirect

 holdings, and Linton sold 59% of his direct holdings and 14.3% of his total holdings.

 Linton’s and Zekulin’s profits from sales of Canopy stock during the Class Period

 dwarfed, by 200% and 1,000%, respectively, their individual net proceeds from sales of

 stock in the two years before the Class Period. Notably, any investor in Canopy’s shares



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 sold on the NYSE who searched the SEC website or Canopy’s SEC filings would not have

 known, or been able to find, any evidence of Linton’s and Zekulin’s enormous profits

 from stock sales on the Canadian market, just weeks before negative earnings information

 hit the market.

        12.        Plagued by product returns and price concessions to distributors, a further

 partial disclosure of Defendants’ fraud was revealed on November 14, 2019, when

 Canopy disclosed that it had recorded a restructuring charge of over $32 million for

 returns and price concessions for cannabis oils and gelcaps, and written off $16 million of

 its own inventory of cannabis oils and gelcaps. The Company further admitted that it was

 recording a charge against revenues for 5-7% price concessions to provinces for oils and

 gelcaps. Analysts and investors were stunned. Just three months earlier Defendants had

 assured them that the $8 million charge against revenue for returned oils and gelcaps was

 a one-time event. After repeatedly hearing from Defendants both before and after October

 2018 that Canopy would “go full blast” and exponentially increase its inventory,

 Defendants admitted that they had “no data” supporting the Company’s inventory buildup

 or their expectations of market demand for cannabis products. The $56 million August and

 November oils and gelcaps revenue reductions and inventory write-offs left the largest

 provinces with less than $2 million in inventory of these products, and Canopy itself with

 less than $10 million in oils and gelcaps inventory.

        13.        Defendants’ November 2019 statements were false. Defendants failed to

 tell investors that there was never any market-demand-based reason for creating their

 enormous inventory of oils and gelcaps, but that the inventory had ballooned because

 Canopy’s grow facilities had failed to produce sufficient high-quality cannabis plants, and



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 the low-quality plants it did produce could only be used for extraction, to create oils and

 gelcaps.

         14.     Three months later, on February 14, 2020, Defendant Klein admitted that

 exponentially increasing the size of its inventory with no data supporting the buildup had,

 as Defendants knew it would, failed. During a February 20, 2020 earnings conference call

 (“February 14, 2020 Call”), Defendant Klein told investors that Canopy would have to

 “align our resources and investments with the size and growth rate of the market as it

 exists today. We've begun taking steps designed to bring our inventory in balance with our

 supply demand understand, this includes a thorough strategic review of our footprint

 which is underway.” Again, Defendants chose not to tell the market that they only

 increased their oils and gelcaps inventory to avoid having to throw out the yield of low-

 quality cannabis it grew in its facilities.

         15.     Three weeks later, on March 4, 2020, Defendant Klein announced that the

 Company expected to record pre-tax charges of approximately $700-$800 million when it

 announced its fourth quarter 2020 and full year 2020 results. Euphemistically calling

 Canopy’s bad news a “production optimization plan,” Canopy announced that it was

 closing two cannabis grow facilities located in Aldergrove and Delta, both in British

 Columbia, Canada, comprising three million square feet, or over half of its production

 space in Canada. Canopy further announced that it was firing 500 employees, virtually

 everyone working in Aldergrove and Delta, and was abandoning its plan to build a third

 greenhouse in Ontario. Hundreds of millions of dollars of Canopy’s cannabis inventory

 was likely worthless.

         16.     The closure of these facilities was the materialization of the undisclosed



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 risk that Defendants would not successfully retrofit the Aldergrove and Delta facilities to

 grow high-quality cannabis because of inadequate lighting, excessive humidity, mold, and

 watering problems, and that Canopy would have to close the facilities.

        17.     The total annual Canadian cannabis market as 2020 began was estimated to

 be only 180 metric tons. Canopy held unsold inventory of 115 metric tons, far more than

 the total 68 metric tons of recreational cannabis it had sold since legalization. Despite

 these facts, Canopy never impaired its dry flower inventory from the start of 2017 through

 February 2020, even though the product expired one year after production, never alerted

 investors that it had held an inventory of cannabis equal to almost 60% of Canada’s entire

 annual cannabis market, and never told investors that it would have to discard a material

 portion of its inventory.

        18.     At the end of the Class Period, on May 29, 2020, before the market opened,

 Canopy announced its financial results for the full-year and fourth quarter of fiscal year

 2020, recording impairments and restructuring charges of $743 million. During an

 earnings conference call that same day (“May 29, 2020 Call”), Defendants attributed the

 write-down to asset impairments of $563 million, most of which was for property, plant

 and equipment tied to Canopy’s cultivation assets. $132 million of the total was for

 inventory write-offs, cannabis that had been grown but was going to be thrown away.

        19.     During the May 29, 2020 Call, Defendants finally admitted that Canopy’s

 decisions to rapidly grow both inventory and facility space were not based on a belief that

 they would be able to sell that inflated inventory. Defendant Klein stated that “there’s no

 denying that we overbuilt our facilities, and that while the “dramatic[]” increase in

 inventory and facilities “was a great talking point,” it “came with great consequences.”



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  Defendant Zekulin went further, admitting that Canopy’s oft-repeated statement that the

  scale of the inventory buildup was only based on market demands had always been false,

  because “part of our effort to push product out early and obtain market share, wasn't

  strictly for the purpose of obtaining market share, it was for getting our brands out there.”

  Defendants still refused to tell investors that the oils and gelcaps inventory buildup was

  not related to perceived market demand, but a result of Defendants’ failure to grow high-

  quality cannabis. Defendants further refused to disclose that they had failed to successfully

  retrofit the Aldergrove and Delta facilities to grow high-quality cannabis, and that the

  facilities suffered from inadequate lighting, excessive humidity, mold, and watering

  problems.

         20.     Canopy violated accounting standards. International Financial Reporting

  Standard (“IFRS”) 15 is a standard that applies to financial reporting for revenue from

  customer contracts. Defendants repeatedly violated IFRS 15 by materially overstating

  revenue in their financial statements, and recognizing revenue when it was not “highly

  probable” that the revenues from sales of oils and gelcaps would not be reversed because

  of rights of return and price concessions. Defendants misled investors by failing to

  disclose that Canopy’s supply contracts with Canadian provinces contained generous

  rights to return product and could enable provinces to extract significant price concessions

  “at the election of the [provincial buyer],” backed by each Canadian province’s right to

  terminate the supply contract with Canopy if it was dissatisfied.6 Defendants further

  misled investors by failing to disclose that they only created their enormous oils and


  6
    Canopy only disclosed the details of the rights to return and price concessions for
  products after the end of the Class Period, in the June 1, 2020 Annual Report on Form
  10-K (“2020 10-K”).

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  gelcaps inventory to avoid having to throw out the low-quality cannabis they had grown,

  and not due to market demand for those products. Finally, Defendants misled investors by

  failing to disclose that it had assembled an excessive inventory of dry flower, and that

  there was no way Canopy would sell all of the cannabis it had harvested and was

  continuing to grow.

         21.     Canopy also violated International Accounting Standard (“IAS”) 2, a

  standard that applies to financial reporting for inventory, by materially overstating

  inventory in Canopy’s financial statements. Defendants had no support for their inventory

  buildup. Even as provinces were returning millions of dollars of oils and gelcaps products

  to Canopy because of low demand, and even as Defendants knew they could never sell

  that massive inventory of extracts produced only because the low-quality plants left them

  with no other options, Defendants recklessly failed to evaluate for impairment and to

  impair oils and gelcaps inventory. Instead, Defendants lied to investors by saying that the

  returns were a one-time event, avoiding a greater material negative impact to their profit

  and loss statements in August of 2019.

         22.     When Defendants disclosed the partial truth on August 14, 2019, Canopy’s

  share price dropped over 14%. The second partial disclosure on November 14, 2019,

  caused Canopy’s share price to again fall over 14%. Canopy’s share price dropped over

  5% when it announced on March 4, 2020 that it expected to record a large write-off when

  it next reported financial results. Finally, when the specifics of the enormous write-off

  were revealed on May 29, 2020, Canopy’s share price dropped over 20%. Plaintiffs and

  the Class suffered damages on each disclosure date.




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  II.    JURISDICTION AND VENUE

         23.     The claims asserted herein arise under and pursuant to Sections 10(b) and

  20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

  thereunder by the SEC (17 C.F.R. § 240.10b-5).

         24.     This Court has jurisdiction over the subject matter of this action pursuant

  to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).

         25.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

  and Section 27 of the Exchange Act (15 U.S.C. § 78aa). Canopy issued and sold

  securities traded on the NYSE in this Judicial District, and Canopy securities traded on

  the NYSE7 using data centers located in this Judicial District.

         26.     In connection with the acts, conduct and other wrongs alleged in this

  complaint, Defendants, directly or indirectly, used the means and instrumentalities of

  interstate commerce, including but not limited to, the United States mails, interstate

  telephone communications and the facilities of the national securities exchange.

  III.   PARTIES

         27.     Plaintiffs Sultan Group, consisting of Anthony Sultan, Ellaine Sultan,

  Anna Cooney, and Formica Industries Limited, purchased Canopy common stock during

  the Class Period as stated in their previously filed Certifications (ECF No. 7-2) and Loss

  Charts (ECF No. 7-2), and suffered losses upon the revelation of the alleged corrective

  disclosures.

         28.     Plaintiffs David Pendola and Dean K. Lurie purchased Canopy common

  stock during the Class Period as stated in their previously filed Certifications (ECF No. 8-

  7
    On November 13, 2020, after the market close, Canopy Growth transferred its U.S.
  stock exchange listing from NYSE to the Nasdaq Global Select Market.

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  6) and Loss Charts (ECF No. 8-4) and suffered losses upon the revelation of the alleged

  corrective disclosures.

         29.     Defendant Canopy, together with its subsidiaries, engages in the

  production, distribution, and sale of cannabis. Canopy is incorporated in Canada and has

  its principal executive offices at 1 Hershey Drive, Smiths Falls, Ontario K7A 0A8,

  Canada. Defendants Linton and Zekulin founded Canopy in 2009 as LW Capital Pool Inc.,

  and the Company was renamed Canopy Growth Corporation in 2015. Canopy’s securities

  have traded in an efficient market on the New York Stock Exchange (“NYSE”) since May

  24, 2018, under the ticker symbol “CGC.” The Company has also been publicly listed on

  the Toronto Stock Exchange since April 4, 2014, and was listed on an Over-the-Counter

  market until May 23, 2018.

         30.     Defendant Bruce Linton (“Linton”) founded Canopy and served as its

  Chief Executive Officer (“CEO”) until June 2018, and as co-CEO until July 2, 2019,

  when he was fired. During the Class Period Linton signed certifications pursuant to the

  Sarbanes-Oxley Act of 2002 (“SOX Certifications”) attached as exhibits to the following

  SEC filings: June 28, 2018 Form 40-F for the period ended March 31, 2018 (“2018 40-

  F”); June 26, 2019 Form 40-F for the period ended March 31, 2019 (“2019 40-F”). In

  addition, Linton signed Certifications of Interim Filings attached as exhibits to the

  following SEC filings on Forms 6-K: August 15, 2018 quarterly statements and exhibits

  for the three months ended June 30, 2018 and 2017 (“Q1 2019 Report”); November 15,

  2018 quarterly statements and exhibits for the three and six months ended September 30,

  2018 and 2017 (“Q2 2019 Report”); February 15, 2019 quarterly statements and exhibits

  for the three and nine months ended December 31, 2018 and 2017 (“Q3 2019 Report”).


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         31.    Defendant Mark Zekulin (“Zekulin”) served as Canopy’s President and co-

  CEO from June 27, 2018 until July 3, 2019, and as its CEO from July 2, 2019 to January

  13, 2020. Zekulin remained as a strategic advisor to CEO Klein until June 30, 2020.

  During the Class Period Zekulin signed SOX Certifications attached as exhibits to the

  following SEC filings: 2019 40-F. In addition, Zekulin signed Certifications of Interim

  Filings attach as exhibits to the following SEC filings on Form 6-K: August 14, 2019

  quarterly statements and exhibits for the three months ended June 30, 2019 and 2018

  (“Q1 2020 Report”); November 14, 2019 quarterly statements and exhibits for the three

  and six months ended September 30, 2019 and 2018 (“Q2 2020 Report”).

         32.    Defendant David Klein (“Klein”) has served as Canopy’s President and

  CEO from January 14, 2020 to the present. During the Class Period Klein signed SOX

  Certifications attached as exhibits to the following SEC filing on Form 6-K: February 14,

  2020 quarterly statements and exhibits for the three and nine months ended December 31,

  2019 and 2018 (“Q3 2020 Report”).

         33.    Defendant Tim Saunders (“Saunders”) served as Canopy’s Chief Financial

  Officer (“CFO”) until June 1, 2019. During the Class Period Saunders signed SOX

  Certifications attached as exhibits to the following SEC filings: 2018 40-F. In addition,

  Saunders signed Certifications of Interim Filings attached as exhibits to the following

  SEC filings on Form 6-K: Q1 2019 Report; Q2 2019 Report; Q3 2019 Report.

         34.    Defendant Mike Lee (“Lee”) has served as Canopy’s CFO since June 1,

  2019. During the Class Period Lee signed SOX Certifications attached as exhibits to the

  following SEC filings: 2019 40-F. In addition, Lee signed Certifications of Interim

  Filings attached as exhibits to the following SEC filings on Form 6-K: Q1 2020 Report;



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  Q2 2020 Report; February 14, 2020 quarterly statements and exhibits for the three

  months ended December 31, 2019 and 2018 (“Q3 2020 Report”).

         35.      Defendant Rade Kovacevic (“Kovacevic”) has served as the Company’s

  President since July 2019. Kovacevic added the title of Chief Product Officer in June

  2020. Kovacevic joined Canopy in August 2016, and before July 2019 served as

  Executive Vice President, Senior Vice President & Managing Director, and Senior Vice

  President, Sales and Operations. Kovacevic participated in earnings conference calls on

  August 15, 2019, and November 14, 2019.

         36.      Defendants Linton, Zekulin, Klein, Saunders, Lee, and Kovacevic are

  collectively referred to herein as the “Individual Defendants.”

         37.      Defendants Canopy and the Individual Defendants are collectively referred

  to herein as “Defendants.”

         38.      Each of the Individual Defendants:

               (a) directly participated in the management of the Company;

               (b) was directly involved in the day-to-day operations of the Company at the

                  highest levels;

               (c) was privy to confidential proprietary information concerning the Company

                  and its business and operations;

               (d) was directly or indirectly involved in drafting, producing, reviewing

                  and/or disseminating the false and misleading statements and information

                  alleged herein;

               (e) was directly or indirectly involved in the oversight or implementation of

                  the Company’s internal controls;



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               (f) was aware of or recklessly disregarded the fact that the false and

                  misleading statements and omissions concerning the Company were being

                  issued;

               (g) approved or ratified these statements in violation of the federal securities

                  laws; and/or

               (h) culpably participated in the misstatements and omissions as set forth

                  herein.

         39.      Attached to the SEC-filed Forms 40-F filed on June 28, 2018, and June 25,

  2019, were SOX Certifications in which each signatory certified, in part, that:

               1. I have reviewed this [Quarterly or Annual] Report on Form
                  [10-Q or 10-K] of [Defendant Canopy];

               2. Based on my knowledge, this report does not contain any
                  untrue statement of a material fact or omit to state a material
                  fact necessary to make the statements made, in light of the
                  circumstances under which such statements were made, not
                  misleading with respect to the period covered by this report;

               3. Based on my knowledge, the financial statements, and other
                  financial information included in this report, fairly present in
                  all material respects the financial condition, results of
                  operations and cash flows of the registrant as of, and for, the
                  periods presented in this report;

         40.      In addition, the SEC-filed Forms 40-F filed on June 28, 2018, and June 25,

  2019, included signed Certifications of Periodic Financial Report Pursuant to 18 U.S.C.

  Section 1350. Each signatory certified that:

                  In connection with the Annual Report of Canopy Growth
                  Corporation (the “Company”) on Form 40-F for the period
                  ended . . . as filed with the Securities and Exchange
                  Commission on the date hereof (the “Report”), I, . . . certify,
                  pursuant to 18 U.S.C. §1350, as adopted pursuant to Section
                  906 of the Sarbanes-Oxley Act of 2002, that:



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                  (1)    The Report fully complies with the requirements of
                  Section 13(a) or 15(d) of the Securities Exchange Act of
                  1934; and

                  (2)     The information contained in this Report fairly
                  presents, in all material respects, the financial condition and
                  results of operations of the Company.

          41.     Certifications of Interim Filings, Full Certificate, Form 52-109F2, were

  attached to each SEC-filed quarterly report on Form 6-K during the Class Period, and

  each signatory certified, in part, that:

                  I, . . . , certify the following:

                  Review: I have reviewed the interim financial report and
                  interim MD&A (together, the “interim filings”) of Canopy
                  Growth Corporation (the “issuer”) for the interim period
                  ended . . . .

                  No misrepresentations: Based on my knowledge, having
                  exercised reasonable diligence, the interim filings do not
                  contain any untrue statement of a material fact or omit to
                  state a material fact required to be stated or that is necessary
                  to make a statement not misleading in light of the
                  circumstances under which it was made, with respect to the
                  period covered by the interim filings.

                  Fair presentation: Based on my knowledge, having
                  exercised reasonable diligence, the interim financial report
                  together with the other financial information included in the
                  interim filings fairly present in all material respects the
                  financial condition, financial performance and cash flows of
                  the issuer, as of the date of and for the periods presented in
                  the interim filings.

          42.     Canopy is liable for the acts of the Individual Defendants and its

  employees under the doctrine of respondeat superior and common law principles of

  agency because all of the wrongful acts complained of herein were carried out within the

  scope of their employment.




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          43.   The scienter of the Individual Defendants and other employees and agents

  of the Company is similarly imputed to Canopy under respondeat superior and agency

  principles.

  IV.     SUBSTANTIVE ALLEGATIONS

        A. Background

          44.   Canopy describes itself as a world-leading multi-brand cannabis company,

  offering distinct brands and curated cannabis varieties in dry flower,8 oils9 and gelcaps

  forms. Canopy operates in 15 countries through two segments, Cannabis Operations and

  Canopy Rivers, its affiliated investment arm. By early 2020 Canopy had approximately

  5.4 million square feet of licensed capacity in operation in Canada, including indoor and

  greenhouse cultivation, post-harvest processing, oil extraction, advanced manufacturing,

  and bottling capability. Canopy Growth first sold cannabis oils in 2016, and first sold

  gelcaps in 2017.

          45.   In 2001, Canada became only the second country to implement a program

  for medical cannabis access. In 2014 regulated commercial sales of medical cannabis

  replaced government sales. Canopy’s sales in the medical cannabis market were business-

  to-consumer (“B2C”) mail-order sales to individual users. Canopy did not sell business-to-

  business (“B2B”) for the medical cannabis market.

          46.   On April 13, 2017, the Canadian Federal Government tabled a bill to

  legalize recreational marijuana use in Canada. On June 18, 2018, the Bill passed the final


  8
    “Dry flower” refers to cannabis plant matter that has been cured and dried and is ready
  to smoke.
  9
    Cannabis oils have a psychoactive effect and are distinct from CBD oils, recreational
  sales of which only became legal in October of 2019.

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  vote in the Senate, opening the door to retail stores and online sales of recreational

  cannabis throughout Canada upon final approval and regulatory hurdles. The Canadian

  government permitted legal recreational sales of dry flower, oils, and gelcaps products

  starting on October 17, 2018.

          47.     The Canadian government left regulation of legal recreational cannabis

  sales to the provinces. Each province would decide whether it would itself be responsible

  for both distribution and retail sales of recreational cannabis or instead would distribute to

  private companies for retail sale. Regardless, suppliers like Canopy sold to provinces for

  distribution to retail sales outlets.

      B. Canopy Knew that it Would Open Very Few Stores After Recreational
         Cannabis Legalization

          48.     On May 16, 2018, in its restated Management Discussion & Analysis

  (“MD&A”) for the period ended June 30, 2017, Canopy told investors that it anticipated

  that when legal recreational cannabis sales began, “the majority of sales in the first two

  years of the recreational market will go through the mail order system.” Canopy stated that

  this was because “in certain provinces, it will take two years and possibly longer to rollout

  the full network of regulated cannabis retail stores that is required to satisfy consumer

  demand.”

          49.     Several Canadian provinces elected to market recreational cannabis

  through government-operated retail stores, while some announced they would license

  private retail stores. Ontario’s ruling Liberal party announced that it would sell

  recreational cannabis through government-operated retail outlets, a fact Canopy noted in

  the Annual Information Form it filed with the SEC on June 28, 2018 (“2018 AIF”).

  Ontario is Canada’s most populous and important market, home to 37% of Canada’s

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  population.

            50.   Defendants knew that Ontario’s decision to open province-operated retail

  stores would depress recreational sales in the province, and require Defendants to plan a

  cautious inventory buildup and anticipate market demand based on depressed sales of dry

  flower, oils, and gelcaps in Ontario. Defendants knew, as they stated in an August 20,

  2018 press release, that “private retail is a more profitable business model” than

  government-run retail, and that if Ontario chose a private retail model, the Company could

  “build a deeper connection with its customers” than if Ontario operated cannabis stores

  itself.

            51.   Defendants also knew that Ontario would not open enough stores in the

  period after legalization of recreational cannabis for Canopy’s sales to match the level of

  its inventory increase. By June 2018, Ontario had only committed to open 40 province-

  operated retail stores throughout the province when legal sales began, or approximately

  one store for every 358,000 people. The state of Colorado, conversely, has approximately

  one retail store for every 10,000 people in the state.10 Further, competition for recreational

  sales in the government-run Ontario online and brick-and-mortar stores would be fierce.

  By August 20, 2018, the province had entered into supply agreements with 26 separate

  licensed producers to supply cannabis to the market.11 By September 27, 2018, Ontario




  10
     See https://www.theglobeandmail.com/cannabis/article-mapping-canadas-cannabis-
  stores-from-dense-supply-to-zero-footprint/.
  11
       See https://www.newcannabisventures.com/ontario-names-26-cannabis-suppliers/.


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  had supply agreements with 32 licensed producers.12

         52.     Canopy downplayed the concern that the existing illegal cannabis market

  would depress store sales. During an earnings conference call on June 28, 2018 (“June 28,

  2018 Call”), discussing the challenges posed by Canada’s existing, illegal cannabis

  market, Defendant Linton acknowledged that, at best, legal recreational cannabis sales

  only threatened “50% of … the illicit market in year 1.” Nevertheless, Linton stated,

  “you’re going to see a more rapid transition than most people have been predicting,” and

  that Canadians would transition from illicit to legal purchases because of the presence of

  “government [retail stores] next door.” Linton knew, however, that when the legal

  recreational market opened on October 17, 2018, Canopy would only have 18 Canopy-

  operated stores in the entire country, all located in three provinces, and none in Ontario.

         53.     On August 13, 2018, the newly-elected Ontario provincial government

  announced that while online recreational sales would remain government-run, it would

  allow for “tightly regulated private retail” stores. Ontario announced, however, that no

  private retail stores would open before April 1, 2019.13

         54.     During the August 16, 2018 earnings conference call (“August 16, 2018

  Call”), Defendant Linton admitted that at the start of the recreational market there would

  be “very few stores” in Ontario and a “very slow process to have more stores.”

         55.     The next month, Ontario’s Attorney General dealt a blow to Canopy’s


  12
    See https://www.cp24.com/news/ontario-pot-retail-rules-pose-headwinds-for-industry-
  players-1.4111753.
  13
   See https://news.ontario.ca/mof/en/2018/08/ontario-announces-cannabis-retail
  model.html.


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  desire to dominate the market by building the largest inventory, stating that the province

  would “make sure” that the retail store “market is not dominated by one or two parties.”14

  Since the province was the distributor, even to licensed privately-run stores, Ontario could

  prevent monopolization of the market by its largest actors.

         56.     Canopy applauded what it conveyed were positive developments, but chose

  not to discuss facts which negatively impacted those developments. In a September 27,

  2018 press release, Canopy lauded Ontario’s switch to allow privately-run stores, but

  made no mention of the lack of stores before April 1, 2019, or of Ontario’s statement that

  it would not allow large players to dominate the market. On November 14, 2018, Canopy

  filed a press release entitled Canopy Growth Corporation Reports Second Quarter Fiscal

  2019 Financial Results. The only mention of Ontario was the statement that as of that date

  Canopy did not have any supply commitments to the province.

         57.     On February 15, 2019, Canopy reported its financial results in the Q3 2019

  Report. The MD&A contained disappointing news about retail stores in Ontario,

  announcing that when Ontario finally allowed retail stores on April 1, 2019, Canopy had

  been licensed to and would open exactly one store in the entire province.

         58.     On June 21, 2019, Canopy filed a press release entitled Canopy Growth

  Corporation Reports Fourth Quarter and Fiscal 2019 Results with Annual Sales of

  $226.3M that revealed, more than eight months after the start of legal recreational sales,

  that Canopy had launched (directly or indirectly through licensing agreements) exactly 23

  cannabis retail stores in all of Canada. As it had opened 18 of these stores by October 17,


  14
    See https://globalnews.ca/news/4491435/ontario-government-to-introduce-legislation-
  regulating-recreational-pot/.

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  2018, the Company had only opened 5 more stores in the next eight months.

     C. Canopy Dramatically Increased its Cannabis Production Capabilities and
        Inventory in the Months Before the Class Period

         59.     The size of Canopy’s cannabis operational and agricultural facilities

  increased exponentially both before and during the Class Period, as did its cannabis

  inventory. Canopy emphasized to investors that the expansion was to enable it to grow

  more high-quality cannabis.

         60.     For example, on February 16, 2018, the Canadian government granted a

  license for a joint venture called “BC Tweed,” which was majority-owned by Canopy

  Growth. The license allowed for 840,000 square feet of growing space for cannabis plants

  in Aldergrove, British Columbia, to spread (as the cannabis plants grew) into 1.3 million

  square feet for flowering and harvesting. Canopy issued a press release calling Aldergrove

  “the largest federally licensed cannabis site anywhere in the world.” On April 13, 2018,

  the Canadian government granted BC Tweed a license for an additional 900,000 square

  feet of growing space for cannabis plants in Delta, British Columbia, to spread into 1.7

  million square feet for flowing and harvesting. On May 25, 2018, Canopy announced that

  it had entered into a joint venture for 70,000 additional square feet of growing space in

  Quebec called “Vert Mirabel.”

         61.     The February 16, 2018 press release touted Canopy’s retrofitting of the

  British Columbia facilities, boasting that “[i]n a few short months the site was renovated

  with lighting, shade systems, security, and automated systems to meet the rigorous

  standards of both the ACMPR and Canopy Growth.” Defendant Zekulin promised

  investors that the facilities would grow top-quality cannabis, stating that “[a] cultivation

  license for our first BC Tweed site positions us to continue this trend as Canada’s, and

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  indeed the world’s largest, most reliable and most diversified producer and seller of high

  quality regulated cannabis.” In the press release touting the license to grow in Delta,

  Defendants again emphasized the quality of their venture, stating that they would use the

  space to develop “high-end, automated greenhouse production space.”

         62.     In the 2018 40-F, issued one day after the start of the Class Period,

  Defendants boasted to investors that Canopy “expects to have the majority of its planned

  5.6 million square feet operations licensed by the end of calendar 2018.”15

         63.     Canopy’s facilities growth was rapid. In its Q1 2019 Report, filed on

  August 14, 2018, Canopy disclosed that it had over “2.4 million square feet of licensed

  indoor and greenhouse production capacity as at June 30, 2018.” Three months later, in its

  Q2 2019 Report, Canopy stated that its cannabis growing space had nearly doubled to 4.3

  million square feet. In the 2019 40-F, filed on June 26, 2019, Canopy boasted that its

  production capacity was now 4.8 million square feet. By the time the Q1 2020 Report was

  filed on August 14, 2019, Canopy’s cannabis growing space had increased to

  approximately 5.2 million square feet. Finally, by the time the Q2 2020 Report was filed

  on November 14, 2019, Canopy had 5.4 million square feet of growing space.

         64.     The increase in growing space corresponded with a concomitant more than

  five-fold exponential growth in Canopy’s inventory before and during the Class Period.

  On June 30, 2018, four months before legal recreational cannabis sales, Canopy valued its

  cannabis inventory at $118,204,000. That inventory value grew to $150,406,000 on



  15
    At the start of the Class Period, Canopy Growth operated eleven cannabis production
  facilities, including seven authorized to produce and sell cannabis, three operated
  pursuant to joint ventures, and one solely authorized to produce cannabis.

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  September 30, 2018, to $184,961,000 on December 31, 2018, to $262,105,000 on March

  31, 2019, to $393,738,000 on June 30, 2019, to $461,757,000 on September 30, 2019, and

  to $622,575,000 on December 31, 2019. Inventory only decreased at the end of the next

  quarter, as of March 31, 2020, when Defendants announced that they were writing off a

  large portion of their inventory.

         65.       Canopy was only able to sell just over one-third of its cannabis inventory

  during the Class Period. Three months before the end of the Class Period, on February 14,

  2020, MKM analyst Bill Kirk calculated that while Canopy had grown 183,000 kilograms

  of cannabis, it had only sold 68,000 kilograms of that inventory. Canopy thus had 115,000

  kilograms of unsold or expired cannabis. Kirk estimated that if Canopy ceased all

  production of cannabis immediately, it would take two-and-a-half years for Canopy to sell

  its inventory.

         66.       Former Employee (“FE”) 1 was Lead Director of Genetic Research at

  Canopy from December 2018 through January 2020. His responsibilities included the

  long-term improvement of both the THC and CBD cultivars (plants cultivated by selective

  breeding). FE1 reported to Jim Brandle, VP of Genomics, who reported to Chief Science

  Officer Tom Shipley, who reported to Defendant Kovacevic, who reported to the CEO.

         67.       According to FE1, cannabis products expire one year from the date of

  production, after which they are no longer marketable.

         68.       Shortly after beginning at Canopy, just after New Year’s Day in 2019, FE1

  was given a behind-the-scenes tour that included growing operations and a storage facility

  in Canopy’s Smiths Falls, Ontario headquarters. According to FE1, the storage vault was

  approximately 40 feet by 40 feet, with floor to ceiling shelving, and was stuffed with

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  stacks of dried bud, and with many pillowcase-sized bags of gelcaps, with 1000 to 2000

  gelcaps in each bag. According to FE1, the amount of product in this one vault relative to

  the market for the products was akin to maintaining a Walmart distribution warehouse for

  a few small grocery stores. FE1 states that given the products’ one-year expiration, the

  prevailing business and regulatory conditions, the small number of storefronts, and the

  fledgling website sales of recreational cannabis, there was no way anyone could believe

  that all the product would be sold before it expired. According to FE1 the eventual write-

  offs were necessary because of the large volume of oils and gelcaps produced, as well as

  the large amount of cannabis grown.

         69.        FE1 states that the vault was only one of multiple vaults where Canopy

  stored product.

         70.        FE2 worked at Canopy as a cost accountant and later finance operations

  controller from October 2016 through October 2019. FE2 was responsible for

  manufacturing accounting for Canopy’s Canadian operations. FE2 reported to VP for

  Financial Planning and Analysis Ingrid Johannson, and later to Jeffrey Lewis.

         71.        FE2 states that scrupulous records were kept for tracking inventory and

  valuation, and that Canopy had an ongoing real-time inventory. According to FE2,

  Canopy prepared a quarterly census of plants for Health Canada compliance, requiring a

  head count of every plant. Canopy had ERP (Enterprise Resource Planning) software for

  this very purpose, software that also accounted separately for extracts. FE2 states that it

  would have been virtually impossible for Canopy’s executives to not know that there was

  surplus product.



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     D. Canopy Did Not Grow its Oils and Gelcaps Inventory to Meet Perceived
        Market Demand, But Because it Failed to Produce High-Quality Cannabis

         72.     FE3 worked at Canopy Growth from July 2018 until April 2020. FE3 was a

  compliance officer based in Aldergrove but also did some work with the Delta grow

  facility. FE3’s duties included developing and training employees in standard operating

  procedures, auditing the amount of live cannabis plants and dried cannabis, and producing

  inventory reports, which detailed the product on hand, the product in production, and

  product that had been destroyed. FE3’s reports were sent to compliance officers in

  Canopy’s headquarters in Ontario. FE3 reported to Kathleen Wilson in quality assurance.

  Wilson reported to Phil Lynch, head of quality and regulatory affairs.

         73.     FE4 worked for Canopy from January 2018 through May 2020. From

  January 2018 to June 2019 FE4 was Manager of Finance Operations for the Western

  Region, which included the grow facilities in Aldergrove and Delta in British Columbia.

  From June 2019 through May 2020 FE4 was Operations Manager of the Aldergrove

  facility. In that latter function FE4 reported directly to the General Manager of

  Aldergrove, who reported to Regional General Manager Bonnie Donovan, who reported to

  the VP of Operations Canada.

         74.     According to FE3, rather than buy and outfit new greenhouses in

  Aldergrove and Delta, Canopy purchased and retrofitted old, existing greenhouses that had

  been used to grow peppers. The old greenhouses did not have the necessary lighting,

  humidifiers, and watering capabilities needed to produce high-quality cannabis. FE4

  confirms that rather than build new grow facilities in Aldergrove and Delta, Canopy

  purchased and retrofitted existing facilities.

         75.     Cannabis, like other agricultural products, is graded. “Bud” is used to


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  denote the highest quality cannabis, high-quality flower with a high THC count. FE4

  states that the Aldergrove and Delta facilities were supposed to be Canopy’s major source

  of “bud” grade cannabis. Canopy expected that the entire harvest would be “bud” grade.

  FE4 states that none of the cannabis grown in Aldergrove or Delta was “bud” grade.

  Instead, the facilities only grew product graded C or C-minus.

         76.     According to FE4, cannabis graded C or C-minus cannot be sold as flower.

  If a harvest is not “bud” grade, it can only be used for extracts—oils and gelcaps.

         77.     According to FE3, the most profitable products are from dried bud with

  high THC levels, but the Aldergrove and Delta facilities failed to produce high-quality

  cannabis. FE3 confirms that the low-quality plants could only be used for extraction into

  oils and gelcaps.

         78.     FE1 also confirms that low-quality cannabis was not suitable for sale as

  dried flower, and that the solution was to use it for extraction. FE1 further stated that

  growing problems resulted in low-quality cannabis plants, leading to even more softgel

  production.

         79.     FE3 states that the low quality of the plants grown at Aldergrove and Delta

  was openly and often discussed. Alan Cooke, Canopy’s VP of Canada Operations,

  admitted that the facilities were not producing “bud” grade cannabis. Regional general

  manager Bonnie Donovan’s predecessor said on multiple occasions that the cannabis was

  only going to be suitable for extraction. Mario Castillo, Canopy’s VP of Canada

  Operations, also discussed this fact.

         80.     FE4 states that Canopy only produced such a large inventory of oils and

  gelcaps because it had no other use for those low-quality plants, and that the market could



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  never bear the volume of oils and gelcaps Canopy was forced to produce because of the

  low-quality of the cannabis plants.

         81.     FE4 says one of the reasons that Aldergrove and Delta grew such low-

  quality cannabis is that the greenhouses Canopy purchased were old and of low quality.

  Lighting was a serious issue, as cannabis needs a lot of light to grow. When cannabis

  plants do not get enough light, FE4 states that the result is “larfy,” meaning

  underdeveloped, buds. “Larfy” buds produce lower grade cannabis in each plant. FE4

  states that Canopy did not spend enough money on lighting. The problem was minimal in

  the summer, when there is a lot of natural light. In the winter, however, the insufficiency

  of the facilities’ artificial lighting was apparent, and the plants were deprived of the energy

  they needed to grow properly.

         82.     FE3 confirms that the lighting at the British Columbia facilities was an

  ongoing problem, and that Canopy Growth never solved the problems before the facilities

  were closed for good in March 2020. FE1 further confirmed that lighting and water

  problems, among others, lead to low-quality “larfy” or immature buds, seeds mixed with

  flowers, and lower yield.

         83.     Canopy’s British Columbia facilities also had humidity problems,

  according to FE4. The industrial humidifiers that Canopy installed were not powerful

  enough. Humidity problems caused “bud rot” and “grey mold.” FE3 confirms the

  humidity problems, and that the plants had bud rot.

         84.     FE1, who visited many of Canopy’s grow sites, states that the growing and

  greenhouse problems described herein were present at all of Canopy’s facilities, which

  were generally of low quality.



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         85.     Canopy’s senior executives were aware of the growing problems and of the

  low-quality cannabis grown. FE4 states that Canopy executives knew about the low

  quality of the plants grown at Aldergrove and Delta. FE3 states that Canopy executives—

  including several of the Individual Defendants—visited the sites regularly, even before

  legal recreational sales began.

         86.     Defendant Linton visited the Aldergrove and Delta greenhouses multiple

  times in 2018 and 2019, including visits in the summer of 2018, before legal recreational

  sales began. During these visits, Linton asked the employees direct and detailed questions.

  According to FE3, the lower-level employees were honest about problems at the facilities,

  including about lighting issues leading to low-grade cannabis production.

         87.     FE3 states that Linton specifically asked the master grower about the low

  quality of the plants being grown, and why they were so tiny. In response to Linton’s

  question the master grower referenced lighting problems.

         88.     FE1 confirms that Canopy’s executives knew about the problems that led to

  the eventual write-offs and the greenhouse closures. FE1 participated in a weekly meeting

  that Kovacevic also attended where the attendees, including Kovacevic, regularly derided

  the poor conditions of the grow facilities and the low-grade product produced in these

  facilities, treating it as an inside joke. FE1 summarizes Kovacevic’s contributions as

  expressing that the Company did not have the ability to fix the problems. FE1 states that

  his participation in these meetings started as early as the winter of 2018, late 2018 and

  early 2019.

         89.     Defendant Kovacevic tweeted about his visits to Aldergrove and Delta. On

  July 5, 2018, well before legal recreational sales began, Kovacevic tweeted from his



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  personal account, "Visited our BC Tweed Aldergrove site today—the team is working

  hard, well into first harvest, next greenhouse about ready to harvest and vegging plants

  looking super healthy!" Kovacevic included three photos of a cannabis plants. According

  to FE3, the photos were taken at the Delta facility.

         90.     Kovacevic’s tweet got highly critical responses condemning the low quality

  of the cannabis grown in Aldergrove and Delta. Twitter user @cannabianski asked, “Hey

  Rade, How are the plants flowering with no light deprivation in the facility and the daily

  sunlight is over 15 hours a day currently? Are these all autoflowers?” After Kovacevic

  replied “blackout curtains,” @cannabianski asked “Can you explain why they were

  digging holes on the site back in May and tossing out full live unflowered plants and

  burying them?” Kovacevic did not respond to the question.

         91.     Another user, @Dana Larsen, tweeting from a verified account, responded

  to Kovacevic stating “Browned leaf tips like that usually indicate overfeeding. Might want

  to cut back on the fertilizers.” Larsen is the former Vice President of the Canadian

  Association of Cannabis Dispensaries and editor of Cannabis Culture magazine.

         92.     Another user condemned the low quality of the plants. A user called

  @JordKo replied to Kovacevic on July 6, 2018, writing, "How are you going to sell all

  that d grade bud?? Oh wait, your customers won’t be able to see it before they buy ...

  rightttt." @icmc6119 tweeted that Canopy’s plants were “sunburned budrot crap.”

         93.     Kovacevic tweeted even more photos of the Delta facility on July 5, 2018.

  Again, responses referenced the low quality of the plants in the photos, with

  @TexadaTimewarp7 writing "whats with the nutrient burn? picture after picture of LPs

  [licensed producers] show the same thing. These companies need to learn to grow



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  better...especially if they are still getting nutrient burn after growing the same strains over

  and over. Doesn’t take long to dial each strain in. #pathetic."

         94.     FE3 further states that around the time of Kovacevic’s July 2018 visit, a

  leaked video shot in one of Canopy’s British Columbia greenhouses showed rows of

  brown, sickly plants.

         95.     FE1 participated in budget meetings held in Canopy’s Smiths Falls, Ontario

  headquarters. At one such meeting in February of 2019, his supervisor, Jim Brandle, who

  met regularly with C-suite executives, as well as with Kovacevic, stated that he had

  personally conveyed to Defendant Linton the material problems in Canopy’s greenhouses.

         96.     FE1 states that Linton knew about the greenhouse problems with light,

  humidity, mildew, and water even before his conversation with Brandle, because the

  Company had been discussing budgeting to fix those very same problems.

         97.     FE1 states that he had frequent one-on-one conversations with Brandle.

  Brandle told him that in every interaction Brandle had with Kovacevic he relayed the

  information about low-quality cannabis and facility problems. In addition, FE1 had

  conversations with Chief Science Officer Tom Shipley, wherein they discussed the

  greenhouse problems. Further, FE1 spoke regularly with Katya Boudko, Canopy’s

  Director of Botanical Research. Boudko stated that she had spoken on multiple occasions

  with both Linton and Kovacevic, and had repeatedly told them about the grow site

  problems.

         98.     During FE1’s regular call with Brandle, the poor conditions at Canopy’s

  Grow facilities and the low-quality cannabis produced were frequent topics, and became a

  running joke between the two. Brandle repeatedly commented that given the serious issues



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  at the grow facilities, there was no reason for Canopy to have the facilities.

         99.     According to FE4, Mario Castillo, Alan Cooke’s successor as Canopy’s VP

  of Canada Operations, visited the British Columbia operations. Castillo told employees

  that Canopy had way too much inventory of extract products—oils and gelcaps. FE3 also

  discussed the low quality of the plants with Castillo.

         100.    FE4 states that Canopy closed down both the Aldergrove and Delta

  facilities in or around March 2020. FE3 states that Defendants Klein and Kovacevic both

  visited the facilities shortly before the closures were announced. Canopy fired virtually

  every employee who worked in Aldergrove and Delta.

         101.    FE5 was a brand manager for Canopy’s premium brands from 2016

  through late 2019, stationed in Ontario. FE5 worked closely with Defendant Kovacevic.

  FE5 also interacted regularly with Defendant Linton. Linton once joked to FE5 that Linton

  came up with the ideas, but that Defendant Zekulin did everything.

         102.    FE5 states that Canopy had no data at all to predict the cannabis market, or

  what products consumers would or would not want. According to FE5, cannabis quality

  declined, so Canopy invested heavily in producing oils and gelcaps, and flooded the

  market with those products. FE5 states that this decision was made by the top executives

  at Canopy, and that Canopy’s top executives were involved in even the smallest decisions.

  Canopy executives were fixated on being first, and spending and expanding. FE1

  confirmed that Canopy acted as if there was a race to have the most greenhouse square

  footage.

         103.    Shortly after joining Canopy in December 2018, FE1 toured some of

  Canopy’s other grow sites, in Smiths Falls, Ontario, Saskatoon, and Niagara-on-the-Lake.



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  According to FE1, all suffered from the same problems present in Aldergrove and Delta,

  including leaky greenhouses, pest infestations, and powdery mildew.

         104.    FE6 worked for Canopy as a Toronto-based brand manager, and then

  senior brand manager, from June 2018 through December 2019. FE6 was responsible for

  marketing products and launching new product lines. FE6 reported to Amy Wasserman, a

  marketing VP, who reported to Dave Bigioni, Canopy’s Chief Marketing Officer, who

  reported to Defendant Kovacevic. FE6 worked with managers who reported to C-suite

  level executives.

         105.    FE6 confirms that the reason that oils and gelcaps were overproduced was

  because Canopy’s cannabis flower harvests were low-quality, and not fit for use as

  anything other than distillates such as oils and gelcaps. FE6 states that the decision to

  overproduce oils and gelcaps was not rooted in consumer insights or data, and that Canopy

  never had any research indicating that consumers were interested in consuming softgels.

  In fact, Canopy overproduced softgels even though consumers were unfamiliar with the

  product. According to FE6, Canopy pushed cannabis stores and provincial boards to buy

  large amounts of oils and gelcaps. FE5 confirms that Canopy convinced the provinces that

  the market for oils and gelcaps would be very large in order to sell its overproduced

  inventories of those products.

         106.    FE6 corroborates FE1’s account of Defendant Kovacevic knowing that by

  February 2019, at the latest, Canopy had already produced far more oils and gelcaps than

  the market was demanding, and that there was no way the Company would be able to sell

  whose oils and gelcaps before they spoiled. When FE6 learned how much oils and gelcaps

  inventory Canopy had amassed, FE6 knew that there was no way that Canopy would



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  succeed in selling that much product. In January or February of 2019, Chief Marketing

  Officer Bigioni informed FE6 that Defendant Kovacevic, who as part of Company

  leadership participated in leadership meetings, had told Bigioni that Canopy had produced

  far more oils and softgels than it could sell. Every Friday FE6 participated in

  interdepartmental meetings also attended by Kovacevic. Bigioni relayed Kovacevic’s

  comments to FE6 and the sales analytics team at those meetings. FE6 states that only after

  Canopy had already overproduced oils and gelcaps did Canopy’s top executives demand

  that the marketing team come up with plans to sell the products. According to FE6,

  Bigioni and Kovacevic repeatedly discussed the need to move the Company’s

  overproduced inventory of oils and gelcaps. One of the ideas was a Valentine’s Day

  marijuana promotion. In November 2018, FE6 asked Bigioni what Canopy’s strategy was,

  to which Bigioni replied that Canopy did not have one—it changed day-to-day.

         107.    FE6 confirms that Canopy wanted to be the first in the market and rushed

  products to the market without regard for actual demand.

     E. Canopy Repeatedly and Materially Misled Investors by Stating that its Plan
        to Exponentially Grow its Inventory was Tailored to Market Demands

         108.    Throughout the Class Period, Defendants materially misled investors by

  telling them that the rapid and exponential inventory growth, including of oils and gelcaps,

  was based on “management’s expectation of market demands.” Defendants failed to reveal

  that Canopy had “no data” to support either its expectations of demand or the exponential

  inventory growth of dry flower, oils, and gelcaps, and that growing problems and the low-

  quality cannabis produced drove the decision to increase oils and gelcaps inventory.

  Further, Defendants failed to reveal that increasing Canopy’s brand awareness, regardless

  of market demand, also drove the exponential inventory growth.


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          109.   Defendants, who visited Canopy’s grow facilities, boasted about the size of

  their inventory long before legal sales began in October 2018. On June 27, 2018, Canopy

  issued a press release entitled Canopy Growth Corporation Reports Fourth Quarter and

  Fiscal Year 2018 Financial Results: Driving Readiness for the Canadian Recreational

  Cannabis Market. The press release stated that as of March 31, 2018, the end of FY 2018,

  Canopy had the largest inventory of any cannabis company.16 “Inventories,” Defendants

  stated, “are continuing to be scaled to meet management's expectation of market demands,

  including the legalized recreational market expected later in calendar 2018.” The only

  justification Canopy gave for the buildup was its purported belief that whichever company

  had the largest inventory would have the largest market share.

          110.   Canopy provided “no data” to support its “management’s expectations of

  market demands” regarding either the size of the market or its statement that having the

  largest inventory was key to winning the largest market share. Canopy made no mention

  of its inadequate, poorly maintained grow facilities or of its inability to produce “bud”

  grade cannabis at these facilities. Canopy did not describe the precise buildup necessary to

  meet demand from all provinces, or state whether competitors with smaller inventories

  would also nonetheless be able to supply to all provinces upon the effective date of

  recreational use legalization. Canopy further failed to explain why, one month after the

  May 16, 2018 restated MD&A, it no longer believed that online sales would be a majority

  of the recreational sales in the first two years of the legal recreational market, rather than

  store sales.


  16
     Defendants stated that as of March 31, 2018, Canopy’s inventory consisted of 15,726
  kilograms of dry cannabis, 6,969 litres of cannabis oils, ranging from concentrated resins,
  or refined oil, to finished oil, and 356 kilograms of softgel capsules.

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         111.    On June 28, 2018, Canopy filed the 2018 40-F, to which it attached its

  MD&A. As in the June 27, 2018 press release, the MD&A stated that “[i]nventories are

  continuing to be scaled to meet management's expectation of market demands, including

  the legalized recreational market expected later in calendar 2018.” Canopy again made no

  mention of its inadequate, poorly maintained grow facilities or of its inability to produce

  “bud” grade cannabis at these facilities, which forced Canopy to use extraction processes

  on the low-quality cannabis plants, and produce oils and gelcaps for which there was not

  sufficient demand.

         112.    During the June 28, 2018 Call, in response to an analyst question,

  Defendant Linton touted the Company’s focus on growing the size of its inventory, stating

  that, months before the legal market opened, Canopy was “going full blast” with building

  inventory so that the Company could ship “a significant amount of product” to the

  provinces for online sales.

         113.    In the MD&A attached to the Company’s Q1 2019 Report, filed on August

  15, 2018, Canopy again assured investors that “[i]nventories are continuing to be scaled to

  meet management’s expectation of market demands, including the legalized recreational

  market expected later in calendar 2018.” The Company provided no data to justify

  management’s expectations or its inventory buildup, nor did it advise investors that its

  ability to sell cannabis in Ontario would be limited by the fact that no stores would open in

  Ontario until April 1, 2019. Again, Canopy failed to inform investors about its inadequate,

  poorly maintained grow facilities or of its inability to produce “bud” grade cannabis at

  these facilities, which forced Canopy to use extraction processes on the low-quality

  cannabis plants, and produce oils and gelcaps for which there was not sufficient demand.


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         114.    During an earnings conference call to report the Company’s second quarter

  2019 financial results on November 14, 2018 (“November 14, 2018 Call”), Defendant

  Saunders again stated Canopy’s oft-repeated line that “[i]nventories are continuing to be

  scaled to meet management's expectation of market demands, including demand from the

  legalized recreational market.” During that same call, Canopy told investors, without

  basis, that demand for gelcaps, in particular, would skyrocket. Defendants omitted telling

  investors that their failure to grow “bud” grade cannabis, rather than actual demand, drove

  the decision to grow the oils and gelcaps inventory.

         115.    On February 15, 2019, Canopy filed the Q3 2019 report and associated

  MD&A for the third quarter of FY 2019 ending on December 31, 2018. In that MD&A,

  Defendants noted that since the recreational cannabis market was “brand new,” it would

  take licensed producers time to develop an understanding of the demand for cannabis

  products, including type/strain, and quantity. The Company made clear to investors,

  however, that these limitations would not affect Canopy. After noting the rapid growth in

  its “deep inventory levels” in the previous three months, Defendants stated twice that the

  entire buildup was still necessary because “Management believes [all of the inventory] is

  required to meet expected market demands, including the legalized recreational market.”

  Defendants again omitted telling investors that their failure to grow “bud” grade cannabis,

  rather than actual demand, drove the decision to grow the oils and gelcaps inventory.

         116.    Defendants also told investors that the rapid expansion of production

  facilities and inventory were needed to meet current market demand, never mentioning the

  low-quality cannabis Canopy grew, that only oils and gelcaps could be produced from that

  harvest, or the multiple vaults filled with more product than Canopy could ever sell before


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  it expired. During an earnings conference call on February 15, 2019 (“February 15, 2019

  Call”), Defendant Linton told investors just that: “[a]nd so like, this is not a stockpiling

  exercise at all, and we're constantly looking at as the provinces are turning up more stores,

  we need to fill that warehouse.”

         117.    Defendants repeatedly assured investors that the exponential growth in both

  their cannabis production facilities and inventory levels were tailored to meet market

  demand, never telling investors until November of 2019 that Canopy had “no data” on

  which to base its assessment of the Canadian recreational cannabis market, and revealing

  only after the Class Period that inventory growth was never calibrated to meet market

  demand, but instead that “part of our effort to push product out early and obtain market

  share, wasn't strictly for the purpose of obtaining market share, it was for getting our

  brands out there.” Even after the Class Period, Defendants never revealed the growing

  problems and low-quality cannabis that forced Canopy to produce an inventory of oils and

  gelcaps that it knew it could never sell.

     F. Defendants Linton and Zekulin Netted Tens of Millions of Dollars from
        Insider Trades Suspicious in Timing and Amount that Were Not Reported to
        the SEC

         118.    On June 26, 2019, following the close of the prior fiscal period and less

  than two months before Canopy revealed its enormous and expensive problem with

  oversupply of oils and gelcaps in August of 2019, and less than a week before Defendant

  Linton was fired on July 2, 2019, he and Defendant Zekulin, his co-CEO, profited by

  millions of dollars from insider sales, evidencing each man’s scienter. The June 26, 2019

  sales, and additional sales throughout the Class Period, dwarfed Linton’s and Zekulin’s

  sales in the two years preceding the Class Period.


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         119.    All of the suspicious stock sales described herein were of Canopy shares

  trading on the Toronto stock market, where Canopy traded under the ticker symbol

  WEED. Any investor in Canopy’s shares sold on the NYSE who searched the SEC

  website or Canopy’s SEC filings would not have known, or been able to easily find, any

  evidence of Linton’s and Zekulin’s enormous profits from stock sales on the Canadian

  market.

         120.    On June 26, 2016, six days before he was fired, Linton exercised options

  on 347,736 shares at prices ranging from $2.95 to $24.12. Simultaneously with his

  exercise of hundreds of thousands of options, and knowing of Canopy’s material,

  undisclosed oversupply problems, Linton sold all of the shares, at prices ranging from

  $51.20 to $51.92. All told, on June 26, 2019, Linton spent $2,199,861 to exercise the

  options, but garnered proceeds of $17,965,850 from the sales. Linton’s one-day profit was

  $15,765,988. All told, on June 26, Linton sold 59% of the shares he owned directly, and

  14.3% of his shares owned directly or indirectly.17

         121.    June 26, 2019 was not the only day during the Class Period when Linton

  profited by millions of dollars through insider sales. On September 27, 2018, Linton sold

  307,845 shares, all at prices above $64, earning $19,901,305.

         122.    During the Class Period, Linton received $37,866,638 in proceeds from

  sales of Canopy’s Canadian stock. He spent $2,199,861 exercising options, and purchased

  170,366 shares on August 3, 2018 for $5,135,683. His total profits were $30,531,094.18


  17
    Linton had indirect ownership of shares through HBAM Holding Inc.
  18
    The August 3, 2018 purchase is described as “shares in exchange for Canopy Health
  and/or Canopy Animal Health shares previously held,” suggesting that Linton exchanged
  shares without actually spending any cash. Without these exchanges, Linton’s profits
  during the Class Period were $35,666,776.

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         123.    Linton’s sales and profits during the Class Period far outpaced his activity

  and profits in the two years preceding the Class Period. From July 27, 2016 to June 26,

  2018, Linton spent $245,832 exercising options, and received $10,360,838 from sale of

  stock, a profit of $10,115,005. Thus, Linton’s profits during the Class Period are 200%

  higher than in the two years before the Class Period (or over 250% higher if one excludes

  the August 3, 2018 exchange).

         124.    Trading with inside information, Linton’s stock sales were not only

  suspicious in timing, but in magnitude, evidencing his scienter.

         125.    Defendant Zekulin’s stock trades during the Class Period were similarly

  suspicious in both timing and amount. On June 26, 2019, less than two months before

  Canopy revealed its oversupply of oils and gelcaps and that material returns of products

  were occurring, Zekulin received $15,046,245 from sale of Canopy stock on the Canadian

  stock exchange, spending $631,500 exercising options. Zekulin’s June 26, 2019 profit was

  $14,404,745. Zekulin sold 100% of his directly owned shares on June 26, 2019. In

  addition, on June 26, 2019, Zekulin sold 49,461 shares he owned indirectly through GMP

  Securities Inc., 100% of GMP’s holdings. GMP had held these shares since they were

  purchased on March 26, 2014.

         126.    Two days later on June 28, 2019, Zekulin spent $1,262,328 exercising

  166,666 options, and immediately sold those shares for $8,808.648, a profit of $7,445,320.

  Altogether, Zekulin’s profits for the two days in June 2019 were $21,850,065. The shares

  sold represented, again, 100% of the total shares Zekulin held. Zekulin has no recorded

  transactions in Canopy’s Canadian stock since June 28, 2019.

         127.    Zekulin further exercised options to purchase 468,334 shares on September



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  27, 2018, spending $2,537,753. On that same date, Zekulin sold 536,095 shares, all at

  prices above $64, garnering proceeds of $35,651,593. Zekulin’s profits on September 27,

  2018 were $33,113,840.

         128.    Altogether, during the Class Period, Zekulin’s net profits from sale of stock

  on the Canadian exchange were $54,963,905.

         129.    Not only are Zekulin’s sales suspicious in timing, but they are suspicious in

  amount. During the two years preceding the Class Period, from July 27, 2016 to June 26,

  2018, Zekulin spent $462,824 exercising options, and received $5,784,430 from sale of

  stock, a profit of $5,321,606. Thus, Zekulin’s net proceeds during the Class Period are

  1,000% higher than in the two years preceding the Class Period.

         130.    The suspicious timing and amounts of Linton’s and Zekulin’s Canadian

  stock activity during the Class Period, trades not discoverable through research of

  Canopy’s SEC filings, evidence their scienter, most glaringly with respect to sales less

  than two months before August of 2019, when Canopy disclosed its vast oversupply of

  oils and gelcaps, and the stock price fell materially.

         131.    The following bar graph shows Linton’s and Zekulin’s profits from stock

  sales during the Class Period, compared to their profits from stock sales in the two years

  preceding the Class Period:




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         132.    The following bar graph shows Linton’s and Zekulin’s profits from stock

  sales during June 2019 only, shortly before the oversupply of oils and gelcaps was

  partially revealed in August 2019, compared to Linton’s and Zekulin’s profits from stock

  sales in the two years preceding the Class Period:




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       G. Canopy Materially Overvalued its Inventory and Violated IAS 2

          133.   Throughout much of the Class Period, Defendants violated IAS 2 by failing

  to evaluate and impair its cannabis inventory.

          134.   IAS 2, Inventories, applies to reporting information on the valuation and

  classification of inventories.19 IAS 2 requires that inventory be measured at the lower of



  19
     The IFRS Foundation is a not-for profit, public interest organization established to
  develop a single set of high-quality, globally accepted accounting standards, and to
  promote and facilitate adoption of the “IFRS” standards. IFRS’ International Accounting
  Standards Board (“IASB”) promulgates standards. IASB standards that predate 2001 are
  “IAS __” rather than “IFRS __.” Since 2007, the SEC has allowed foreign registrants to
  prepare financial statements in accordance with IFRS, without reconciling the data to
  Generally Accepted Accounting Principles (“GAAP”).

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  cost or net realizable value. IAS 2 ¶9. Net realizable value is the estimated selling price an

  entity expects to realize from sale of inventory in the ordinary course of business, less the

  estimated costs of completion and the estimated costs necessary to make the sale. IAS 2.6.

  The amount the inventories are expected to realize is based on the most reliable evidence

  available at the time the estimates are made, including events occurring after the end of the

  period but before financial statements are issued, to the extent such events confirm

  conditions existing at the end of the period. IAS 2 ¶30. Estimates of net realizable value

  also take into consideration the purpose for which the inventory is held. IAS 2 ¶31.

         135.    When the carrying value of inventory exceeds its net realizable value, the

  inventory is written down to net realizable value, and the reduction in value is recognized

  as an expense in the period the write down or loss occurs. IAS 2 ¶34. An entity is required

  to disclose its accounting policies for measuring inventories, the total carrying amount of

  inventories in classifications appropriate to the entity, and the amount of any write downs

  of inventory recognized during the reporting period, among others. IAS 2.36-39.

         136.    From the beginning of fiscal year (“FY”) 2019 through the end of the Class

  Period, Canopy increased cannabis inventory exponentially. On March 31, 2018,

  Defendants valued the Company’s inventory at $101,607,000. By December 31, 2019,

  Canopy valued its inventory at $622,575,000, an increase of over 500%.

         137.    In the June 27, 2018 press release, and repeatedly thereafter, as noted in

  detail above, Defendants materially misstated that it scaled inventories to meet market

  demands, never informing investors of Canopy’s failures in growing “bud” grade

  cannabis, or that Canopy had no choice but to use that cannabis to produce oils and

  gelcaps.

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         138.    Canopy violated IAS 2 in SEC filings throughout the Class Period,

  materially misleading investors by knowingly or recklessly failing to evaluate and impair

  its excessive inventory of dry flower, oils, and gelcaps. As Canopy’s inventory grew

  exponentially, Defendants recklessly failed to disclose then-known risks associated with

  this stockpiling, and continued to provide no basis in evidence for its optimistic market

  assessments or its calculations of net realizable value. Defendants never told the market

  about the serious problems in Canopy’s grow facilities leading to production of low-

  quality cannabis and forcing Canopy to either increase its oils and gelcaps inventory or

  throw out the plants, and never told the market that they had “no data” on which to base

  their market demand expectations or their rapid inventory growth, or that, contrary to their

  repeated statements, their inventory buildup was based on something other than market

  demand.

         139.    While Defendants acknowledged that Canada’s recreational cannabis

  market was new, and that they had no external market research on which to rely, they did

  not caution investors that they had “no data” supporting their expectations of market

  demand, or of the serious production problems at Canopy’s grow facilities forcing Canopy

  to overproduce oils and gelcaps. The 2018 AIF contained sixteen (16) pages of “Risk

  Factors.” None of the risk factors cautioned about inventory levels or the possibility that

  the Company would need to discard or take impairments on unsold inventory, much less

  the specific decision exponentially to increase inventory generally, or inventory of dry

  flower, oils, and gelcaps specifically. In fact, the words “inventory, “gelcaps,” and “oils”

  do not appear in any risk warning.

         140.    Nor did the risk warnings caution that Canopy had no data to use to set its


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  “market expectations” for the legal recreational cannabis market, no data to support the

  scale of its acquisition, construction and activation of cannabis product facilities, and no

  data to support the scale of its inventory buildup or its buildup of oils and gelcaps

  specifically. Throughout the Class Period, Defendants misinformed investors that they had

  some basis to support their decision to exponentially increase inventory, when they knew

  that they did not.

         141.    Defendants’ knowledge that they were required to evaluate and impair

  inventory, and their recklessness, is further evidenced by their decision to start providing

  investors with less information about Canopy’s inventory. From the start of the Class

  Period through the November 15, 2018 quarterly filing for the period ended September 30,

  2018, Canopy provided not only total inventory figures broken down into “finished

  product” and “work-in-process,” but also inventory values for dry flower, oils and gelcaps,

  broken down into the same two categories.

         142.    On February 15, 2019, Canopy filed its Q2 2019 Report, which included

  the Company’s Condensed Interim Financial Statements for the three and nine months

  ended December 31, 2018 and 2017 (in Canadian dollars). For the first time, in Note 8,

  “Inventory,” Canopy published only the total value of inventory. This hid from investors a

  separate breakdown for dry cannabis, oils, and gelcaps, and allowed Canopy to avoid

  answering questions about the reasons for the marked increase in oils and gelcaps

  inventory. For the rest of the Class Period, as the market for recreational oils and gelcaps

  dried up, Defendants only disclosed the total value of all inventory to avoid providing any

  information about the inventory value for dry flower, oils, and gelcaps.

         143.    Defendants violated IAS 2 in each quarter through the August 14, 2019

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  quarterly filings and earnings call by materially overvaluing inventory. On that date

  Defendants announced that they recorded an $8 million revenue charge for returns of oils

  and gelcaps. Defendants attributed the returns to “the risk of an over-supply of certain oil

  and softgel formats may exist in certain markets.” Defendants knew, from before the

  start of the Class Period, that their own growing failures in producing “bud” grade

  cannabis forced Canopy to overproduce oils and gelcaps, and that they had no reason to

  believe that the situation would improve. Defendants knew this because they saw the

  problems with their own eyes, because they participated in meetings where the problems

  were discussed, and because they were told about the problems. Yet instead of evaluating

  and impairing their enormous inventory of oils, gelcaps, and dry flower in the wake of

  their partial disclosure that those products were not only not being sold, but were being

  returned, Defendants doubled down, falsely and recklessly telling investors that the

  revenue reversal was a one-time occurrence that would not repeat itself. This was a

  material misstatement that would be revealed just three months later when Defendants

  stated that they had impaired $16 million of their oils and gelcaps inventory.

     H. Canopy Materially Overstated its Revenue and Violated IFRS 15

         144.    Starting with the February 15, 2019 quarterly filing and continuing through

  the rest of the Class Period, Defendants misled investors by materially overstating

  revenues in violation of IFRS 15, recognizing revenue that it knew was not “highly

  probable” to not be reversed, and without a “high degree of confidence” that the revenue

  would not be reversed.

         145.    IFRS 15, Revenue from Contracts with Customers, applies to reporting

  information about the nature, amount, timing and uncertainty of revenue and cash flows


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  from a customer contract.20 IFRS sets a five-step process for determining when to

  recognize revenue: (a) identify the customer contract(s); (b) identify the contract’s

  “performance obligations,” distinct promises to transfer goods or services; (c) determine

  the “transaction price,” the amount of consideration an entity expects to receive in

  exchange for transferring goods or services; (d) allocate the transaction price to each

  performance obligation based on the relative stand-alone selling prices of each distinct

  good or service to be transferred; and (e) recognize revenue when a performance

  obligation is satisfied by transferring a promised good or service to a customer, which may

  be at a single point in time, or over time.

         146.    A contract’s promised consideration may be fixed, variable, or both. IFRS

  15.47. The consideration amount may vary due to price concessions, rights of return, or

  other similar items. IFRS 15.51. Variability may be explicit or implicit, and may arise

  from customary business practices, specific statements, or other facts and circumstances

  that create a valid expectation by the customer. If a contract’s promised consideration is

  variable, an entity must estimate the consideration it expects to receive in exchange for the

  promised goods or services. IFRS 15.48, 50.21




  20
     Canopy stated that its financial statements were prepared in accordance with IFRS, and
  IFRS 15 specifically, in every quarterly or annual filing during the Class Period until
  April 1, 2020, after which its financial statements were prepared in accordance with
  GAAP.
  21
     The two methods for determining the amount of variable consideration to record are
  the expected value method and the most likely amount method. IFRS 15.53. Canopy did
  not disclose the method it applied, if any. The expected value method generally applies if
  an entity has a large number of contracts with similar characteristics, and the most likely
  amount method when a contract has only two possible outcomes, e.g., an entity either
  achieves a performance bonus or does not. The method chosen must be applied
  consistently throughout the contract and to similar types of contracts when estimating the

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         147.    IFRS 15 requires an entity to disclose sufficient information to enable users

  of financial statements to understand the nature, amount, timing, and uncertainty of

  revenue and cash flows arising from customer contracts. IFRS15.110. An entity is

  required to disclose qualitative and quantitative information about its customer contracts,

  IFRS 15.110, including whether the consideration amount receivable from customers

  includes a variable component and whether the estimate of this variable component was

  constrained, and whether the contract has obligations for returns, refunds and other

  similar obligations. IFRS 15.119. Further, IFRS 15 requires an entity to disclose

  qualitative and quantitative information about the significant judgements, and changes in

  judgements, made in applying IFRS 15 to contracts, IFRS 15.110, including estimating

  variable consideration, assessing whether an estimate of variable consideration is not

  “highly probable” and must be constrained, and measuring obligations for returns,

  refunds and other similar obligations. IFRS 15.123, 126.

         148.    In order to prevent improper revenue recognition, estimation of variable

  consideration must be constrained to the extent that it is “highly probable that a

  significant reversal in the amount of cumulative revenue recognised will not occur when

  the uncertainty associated with the variable consideration is subsequently resolved.” IFRS

  15.56.22 An entity must have a “high degree of confidence” that the revenue will not be

  reversed in a subsequent reporting period. IFRS 15.BC203-BC204.




  effect of uncertainty on the amount of variable consideration to which the entity will be
  entitled. IFRS 15. 53-54.
  22
     The term “highly probable” is consistent with the existing definition in IFRS 5
  Appendix A, “significantly more likely than probable.”

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         149.    In assessing whether it is “highly probable” that a significant reversal of

  revenue will not occur, an entity should consider both the likelihood and magnitude of a

  revenue reversal. Factors which may increase the likelihood or the magnitude of a revenue

  reversal include: a high risk of obsolescence of the promised good or service, the entity’s

  limited experience with similar types of contracts (or if previous experiences have limited

  predictive value), whether the entity has a practice of offering either a broad range of price

  concessions or changing the payment terms and conditions of similar contracts in similar

  circumstances, and if the contract has a broad range of possible consideration amounts

  IFRS 15.57.

         150.    When an entity determines that if it includes all of the variable

  consideration in the transaction price it cannot meet the “highly probable” threshold, it

  should recognize as revenue a smaller amount that would not result in a significant

  revenue reversal.

         151.    When a contract includes a right to return products, revenue should not be

  recognized for products expected to be returned. The expected refund should be recorded

  as a refund liability, and the returned products as an asset. IFRS 15.55, B20 – B27.

  Variable consideration should be reassessed, liabilities refunded, the value of the returned

  asset recorded, and the figures adjusted each reporting period, as either increases or

  decreases in revenue. IFRS 15.55, 59, B23 - B25.

         152.    Canopy’s unwarranted and inflated inventory created a risk of oversupply

  to distributors, and a material risk of product returns and price concessions. Canopy never

  made public its supply contracts with provinces for recreational cannabis, so investors

  were unaware until Defendants’ statement during an August 15, 2019 earnings conference

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  call (“August 15, 2019 Call”) that “the supply agreements with the provinces allow for

  returns at any point in the future.” The 2018 AIF’s risk factors do not mention these

  provisions, or caution that significant returns could materially affect Canopy’s financial

  condition. The only mention of “returns” is in an unrelated risk about recall of dangerous

  or defective products.

         153.    Investors were further unaware that Canopy’s contracts for recreational oils

  and gelcaps allowed for significant price concessions under specific circumstances. Only

  after the Class Period, in the 2020 10-K filed on June 1, 2020, did Canopy tell investors

  that its “supply agreements … are subject to terms that allow for renegotiation of sale

  prices and termination at the election of the applicable cannabis control authority.” The

  2018 AIF’s risk factors do not mention that the provincial buyers/distributors could

  receive price concessions whenever they chose, backed by the threat that any province

  could cancel its supply contract with Canopy at any time. Nor did Defendants caution that

  significant price concessions could materially affect Canopy’s financial condition.

         154.    During an earnings conference call held on June 21, 2019 (“June 21, 2019

  Call”), in response to an analyst question, Defendant Linton acknowledged that in the

  fourth quarter of FY 2019, ending March 31, 2019, the very first quarter during which

  recreational sales were legal for the entire quarter, the number of kilograms of recreational

  cannabis sold was lower than the number of kilograms sold in the third quarter of FY

  2019, during which recreational sales were not legal for the entire quarter. Defendants

  continued, nevertheless, to materially increase the size of Canopy’s inventory, without

  ever telling investors that with respect to oils and gelcaps specifically, Canopy’s inventory

  growth had nothing to do with perceived demand, but with Canopy’s failure to grow high-


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  quality cannabis, and that those products were almost certain to be returned in large

  amounts.

         155.   Canopy violated IFRS 15 in its Consolidated Financial Statements issued

  on February 15, 2019, June 26, 2019, and August 14, 2019, knowingly or recklessly

  materially misleading investors by recording variable revenue that was not “highly

  probable” not to be reversed, and failing to disclose required information about its

  customer contracts with provinces.

         156.   Defendants failed entirely to execute IFRS 15’s mandate to disclose

  sufficient information to enable users of financial statements to understand the nature,

  amount, timing, and uncertainty of revenue from its supply contracts with provinces. Only

  during the earnings conference call on November 14, 2019 (“November 14, 2019 Call”)

  did investors learn that prior to and after October 17, 2018, Canopy had “no data,” to

  support its revenue assumptions about returns and pricing concessions, and that

  Defendants “had nothing within the Canadian regulatory context for recreational

  legalization for making production decisions.” Only after the Class Period did investors

  learn that Canopy’s product supply push to the provinces “wasn’t strictly” because

  Defendants thought that it was needed to meet market demand, but was “for getting our

  brands out there.” Investors never learned about Canopy’s failure to grow “bud” grade

  cannabis, that this failure drove the increase in oils and gelcaps inventory, and that

  Canopy had no reason to believe that the excessive inventory of these products would ever

  be sold.

         157.   Defendants violated IFRS 15 by failing to disclose that it was “highly

  probable that a significant reversal in the amount of cumulative revenue recognised will

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  not occur when the uncertainty associated with the variable consideration is subsequently

  resolved.” IFRS 15.56. Defendants’ repeated statements to investors that management had

  specific expectations for market demands were intended to instill in investors the belief

  that their understanding of the legal cannabis market was based on evidence rather than a

  desire to build investor interest and inflate its stock value. When Defendants told investors

  during the November 14, 2019 Call that they understood oils and gelcaps sales to be 15%

  of the market when they were only 5% of the market, they did not even attempt to support

  their 15% “market expectation” number with facts demonstrating that the number was

  anything other than a guess. In fact, they could not, as Defendants had no rational basis to

  believe that oils and gelcaps would comprise 15% of their sales.

         158.    Defendants violated IFRS 15 by failing to disclose that its supply contracts

  with provinces not only contained rights of return, but that the provinces had an unlimited

  right to return product to Canopy. These undisclosed provisions spoke directly to the

  uncertainty of Canopy’s revenue recognition.23 Defendants were required to disclose their

  existence to investors.

         159.    Defendants also violated IFRS 15 by failing to disclose that the supply

  contracts with provinces enabled provinces to extract price concessions from Canopy “at

  the election of the [provincial] authority.” Investors only learned about price concessions

  on November 14, 2019, when Canopy announced that it had granted “pricing allowances”

  23
     Although Canopy stated in its June 28, 2018 Consolidated Financial Statements for the
  years ended March 31, 2018 and 2017 (in Canadian dollars), that, pursuant to IFRS 15,
  it “recognizes revenue in an amount that reflects the consideration that the Company
  expects to receive taking into account any variation that may result from rights of return,”
  this recitation is boilerplate and did not convey the magnitude of such rights of return.
  Canopy never disclosed that its supply contracts contained rights of return before August
  15, 2019.

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  for oils and gelcaps in the amount of 5-7%. Investors were never informed that Canopy

  had agreed to pricing concessions in its supply contracts.

           160.   Finally, Defendants violated IFRS 15 by failing to provide information

  supporting their determinations of transaction prices. Defendants’ silence prevented

  investors from evaluating the wisdom or folly of the supply contracts, and led to investor

  losses when Canopy was forced to reverse $40.7 million in revenue of oils and gelcaps in

  August and November of 2019.

           161.   Far from disclosing “sufficient information,” Defendants provided

  investors with no information. Canopy violated IFRS 15.

  V.       DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
           OMISSIONS


        A. Defendants’ False and Misleading Statements Concerning Its Oils and
           Gelcaps Inventory

           162.   On June 27, 2018, Canopy issued a press release, signed by Defendant

  Linton, attached to a filed 6-K, entitled Canopy Growth Corporation Reports Fourth

  Quarter and Fiscal Year 2018 Financial Results: Driving Readiness for the Canadian

  Recreational Cannabis Market. Canopy stated:

                  Inventory at March 31, 2018 amounted to $101.6 million
                  (March 31, 2017 - $46.0 million) and biological assets
                  amounted to $16.3 million (March 31, 2017 - $14.7 million),
                  together totaling $117.9 million (March 31, 2017 - $60.7
                  million). Inventories are continuing to be scaled to meet
                  management's expectation of market demands, including
                  the legalized recreational market expected later in
                  calendar 2018.24
                  At March 31, 2018, the Company held 15,726 kilograms of


  24
       Emphasis added throughout unless otherwise noted.

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                dry cannabis, 6,969 litres of cannabis oils, ranging from
                concentrated resins, or refined oil, to finished oil, and 356
                kilograms of softgel capsules. Included in the dry cannabis
                quantities was 2,982 kilograms available for sale in the
                Company's online stores and 3,480 kilograms in process of
                finishing or awaiting approval for sale and 9,264 kilograms
                of extract-grade cannabis held for conversion to saleable oils
                and capsules.
         163.   The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

            (a) Failed to disclose that the exponential increase in the inventory of oils and

                gelcaps resulted from Canopy’s failure to produce “bud” grade cannabis at

                its grow facilities, and that the only use for the low-quality cannabis was

                extraction to produce oils and gelcaps. The increased oils and gelcaps

                inventory was unrelated to, and in fact contrary to, “management’s

                expectations of market demand,” and management was aware of the

                cannabis quality problem by June 2018 at the latest. Having chosen to

                speak about inventory and their decision to scale inventory, Defendants

                were duty-bound not to omit information whose absence rendered their

                statements misleading;

            (b) Failed to disclose that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that this absence of data disabled them from

                accurately understanding the appropriate level of inventory of oils and

                gelcaps, and the market demand for those products. Having chosen to speak

                about inventory and their decision to scale inventory, Defendants were

                duty-bound not to omit information whose absence rendered their

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             statements misleading;

          (c) Failed to disclose, as Defendants admitted at the end of the Class Period,

             that the reason for “scaling” inventory “wasn't strictly for the purpose of

             obtaining market share,” but for “getting our brands out there,” and, as

             Defendants failed to ever disclose, because the low-quality cannabis grown

             at Canopy’s grow facilities could only be used to produce oils and gelcaps;

          (d) In violation of IAS 2, failed to state that having “no data” upon which to

             base its decision to “scale inventory” or to determine “management’s

             expectation of market demands,” was a material constraint on their ability

             accurately to understand the appropriate level of inventory of oils and

             gelcaps, and the market demand for those products;

          (e) In violation of IFRS 15, failed to state that having “no data” upon which to

             base its decision to “scale inventory” or to determine “management’s

             expectation of market demands,” was a constraint on their ability to

             accurately understand the appropriate level of inventory of oils and gelcaps,

             and the market demand for those products.

          (f) Failed to disclose that Defendants had “no data” on which to base the

             opinion that “significant demand will develop for cannabis oil and in

             particular soft gels in the recreational market,” and that the decision to

             increase oil and gelcaps inventory was not in any way based on perceived

             demand for those products, but on Canopy’s failure to produce “bud” grade

             cannabis at its grow facilities.



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         164.     On June 28, 2018, Canopy filed with the SEC its 2018 AIF as an exhibit to

  its 2018 40-F. The 2018 AIF has a section entitled “Risk Factors” that is 16 pages long.

  The Risk Factor section contains no risk factors cautioning about inventory buildup, or

  inventory buildup of gelcaps and/or oils specifically. None of the words “inventory,”

  gelcaps,” or “oils” appear in the Risk Factor section.

         165.    The foregoing “Risk Factor” section was materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                 in anticipation of the legal recreational cannabis posed a material risk to

                 Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that the decision to scale inventory of oils and gelcaps,

                 as Defendants knew, was made because of Canopy’s failure to produce

                 “bud” grade cannabis at its grow facilities, and that the only use for the

                 low-quality cannabis was extraction to produce oils and gelcaps;

             (c) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate level of

                 inventory of oils and gelcaps, and the market demand for those products;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”


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         166.   On June 28, 2018, Canopy filed with the SEC its “Consolidated Financial

  Statements for the years ended March 31, 2018 and 2017 (in Canadian dollars”). The

  Balance Sheet in the Financial Statements lists “Inventory” as an asset valued at

  $101,607,000. Note 6 to the Financial Statements, “Inventory,” lists total inventory of

  $101,607,000, consisting in part of $30,198,000 in inventory of Cannabis Oils, comprised

  of $9,624,000 of finished goods and $20,574,000 of works-in-process; $2,768,000 in

  inventory of Capsules- Finished Goods; and $65,423,000 in inventory of Dry Cannabis,

  comprised of $14,114,000 of finished goods and $51,309,000 in works-in-process.

         167.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

            (a) Materially overstated the value of their inventory because they failed

                adequately to reserve for obsolescence and expiration;

            (b) Materially overstated their inventory because Canopy had “no data” to use

                in deciding to scale up inventory or to adjust to the market demand for

                those products;

            (c) Materially overstated their inventory because Canopy knew that it

                increased its oils and gelcaps inventory only because of Canopy’s failure to

                grow “bud” grade cannabis, and the low-quality cannabis produced at

                Canopy’s grow facilities could only be used to produce oils and gelcaps;

            (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                of inventory of oils and gelcaps, and impair the inventory;

            (e) In violation of IAS 2, failed to state that having “no data” upon which to


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                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands” was a material constraint on Canopy’s

                ability to accurately understand the appropriate level of inventory of oils

                and gelcaps, and the market demand for those products;

            (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         168.   On August 15, 2018, Canopy issued a press release, signed by Defendant

  Linton, attached to a filed 6-K, entitled Canopy Growth Corporation Reports First

  Quarter Fiscal 2019 Financial Results. In a section entitled “First Quarter Fiscal 2019

  Balance Sheet Highlights,” Canopy wrote that:

                Inventory at June 30, 2018 amounted to $118.2 million
                (March 31, 2018 - $101.6 million) and biological assets
                amounted to $52.8 million (March 31, 2018 - $16.3 million),
                together totaling $171.0 million (March 31, 2018 - $117.9
                million). Inventories are continuing to be scaled to meet
                management's expectation of market demands, including
                the legalized recreational market expected later in
                calendar 2018.

                At June 30, 2018, the Company held inventory of 19,721
                kilograms of dry cannabis, 14,895 litres of cannabis oils,
                ranging from concentrated resins, or refined oil, to finished
                oil, and 1,055 kilograms of softgel capsules. Included in the
                dry cannabis quantities was 2,594 kilograms available for
                sale in the Company's online stores and 6,576 kilograms in
                process of finishing or awaiting approval for sale and 10,551
                kilograms of cannabis held for conversion to saleable oils
                and softgel capsules.
         169.   On August 15, 2018, Defendants filed Management’s Discussion and

  Analysis of the Financial Condition and Results of Operations for the three months ended

  June 30, 2018 (“August 15 MD&A”). In the MD&A Defendants wrote that “Inventories

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  are continuing to be scaled to meet management's expectation of market demands,

  including the legalized recreational market expected later in calendar 2018.”

         170.   The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

            (a) Failed to disclose that the exponential increase in the inventory of oils and

                gelcaps resulted from Canopy’s failure to produce “bud” grade cannabis at

                its grow facilities, and that the only use for the low-quality cannabis was

                extraction to produce oils and gelcaps. The increased oils and gelcaps

                inventory was unrelated to, and in fact contrary to, “management’s

                expectations of market demand,” and management was aware of the

                cannabis quality problem by June 2018 at the latest. Having chosen to

                speak about inventory and their decision to scale inventory, Defendants

                were duty-bound not to omit information whose absence rendered their

                statements misleading;

            (b) Failed to disclose that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that this absence of data acted as a constraint on

                their ability to accurately determine the appropriate level of inventory of

                oils and gelcaps, and the market demand for those products. Having chosen

                to speak about inventory and their decision to scale inventory, Defendants

                were duty-bound not to omit information whose absence rendered their

                statements misleading;

            (c) Failed to disclose, as Defendants admitted at the end of the Class Period,

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                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there,” and, as

                 Defendants failed to ever disclose, because the low-quality cannabis grown

                 at Canopy’s grow facilities could only be used to produce oils and gelcaps;

             (d) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands,” was a material constraint on their ability

                 to accurately understand the appropriate level of inventory of oils and

                 gelcaps, and the market demand for those products.

             (e) In violation of IFRS 15, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands,” was a constraint on their ability to

                 accurately understand the appropriate level of inventory of oils and gelcaps,

                 and the market demand for those products.

             (f) Failed to disclose that Defendants had “no data” on which to base the

                 opinion that “significant demand will develop for cannabis oil and in

                 particular soft gels in the recreational market,” and in fact Defendants knew

                 that the decision to increase oil and gelcaps inventory was not in any way

                 based on perceived demand for those products, but on Canopy’s failure to

                 produce “bud” grade cannabis at its grow facilities.

         171.    The August 15 MD&A contains a “Risks and Uncertainties” section

  containing two pages of risks. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The cited risk sections contain no risk factors cautioning

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  about inventory buildup, or inventory buildup of gelcaps and/or oils specifically. None of

  the words “inventory,” gelcaps,” or “oils” appear in the Risk Factor section.

         172.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                 in anticipation of the legal recreational cannabis posed a material risk to

                 Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                 was made because of Canopy’s failure to produce “bud” grade cannabis at

                 its grow facilities, and that the only use for the low-quality cannabis was

                 extraction to produce oils and gelcaps;

             (c) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate level of

                 inventory of oils and gelcaps, and the market demand for those products.

         173.    On August 15, 2018, Canopy filed with the SEC its Condensed Interim

  Consolidated Financial Statements for the three months ended June 30, 2018 and 2017 (in

  Canadian dollars). The Balance Sheet in the Financial Statements lists “Inventory” as an

  asset valued at valued at $118,204,000, compared to $101,607,000 as of March 31, 2018,

  three months earlier. Note 6 to the Financial Statements, “Inventory,” lists total inventory

  of $118,204,000, consisting in part of $71,755,000 in inventory of Dry Cannabis,


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  comprised of $13,352,000 of finished goods and $58,403,000 in works-in-process;

  $35,234,000 in inventory of Cannabis Oils, comprised of $20,632,000 of finished goods;

  and $14,602,000 of works-in-process; and $7,755,000 in inventory of Capsules- Finished

  Goods.

           174.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

              (a) Materially overstated the value of their inventory because they failed

                  adequately to reserve for obsolescence and expiration;

              (b) Materially overstated their inventory because Canopy knew that the oils

                  and gelcaps inventory was increased only because of Canopy’s failure to

                  grow “bud” grade cannabis, and that the low-quality cannabis produced at

                  Canopy’s grow facilities could only be used to produce oils and gelcaps;

              (c) Materially overstated their inventory because Canopy had “no data” to use

                  in deciding to scale up inventory or understand the market demand for

                  those products;

              (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                  of inventory of oils and gelcaps, and impair the inventory;

              (e) In violation of IAS 2, failed to state that having “no data” upon which to

                  base its decision to “scale inventory” or to determine “management’s

                  expectation of market demands” was a material constraint on Canopy’s

                  ability to accurately understand the appropriate level of inventory of oils

                  and gelcaps, and the market demand for those products.


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         175.   On November 14, 2018, Canopy issued a press release, signed by

  Defendant Linton, attached to a 6-K filed on November 15, 2018, entitled Canopy Growth

  Corporation Reports Second Quarter Fiscal 2019 Financial Results. In a section entitled

  “Second Quarter Fiscal 2019 Balance Sheet Highlights,” Canopy wrote that:

                Inventory at September 30, 2018 amounted to $150.4
                million (March 31, 2018 - $101.6 million) and biological
                assets amounted to $20.7 million (March 31, 2018 - $16.3
                million), together totaling $171.1 million (March 31, 2018 -
                $117.9 million). Inventories are continuing to be scaled to
                meet management's expectation of market demands,
                including the legalized recreational market and meeting
                medical customer commitments.

                At September 30, 2018, the Company held inventory of
                31,214 kilograms of dry cannabis, 21,499 litres of cannabis
                oils, ranging from concentrated resins, or refined oil, to
                finished oil, and 1,497 kilograms of Softgel capsules.

         176.   On November 15, 2018, Defendants filed Management’s Discussion and

  Analysis of the Financial Condition and Results of Operations for the three and six

  months ended September 30, 2018 (“November 15 MD&A”). In the MD&A Defendants

  wrote that “Inventories are continuing to be scaled to meet management's expectation of

  market demands, including the legalized recreational market which commenced

  October 17, 2018.”

         177.   During the November 14, 2018 Call, in scripted remarks, Defendant

  Saunders stated that “Inventories are continuing to be scaled to meet management's

  expectation of market demands, including the legalized recreational market.”

         178.   The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

            (a) Failed to disclose that the exponential increase in the inventory of oils and

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             gelcaps resulted from Canopy’s failure to produce “bud” grade cannabis at

             its grow facilities, and that the only use for the low-quality cannabis was

             extraction to produce oils and gelcaps. The increased oils and gelcaps

             inventory was unrelated to, and in fact contrary to, “management’s

             expectations of market demand,” and management was aware of the

             cannabis quality problem by June 2018 at the latest. Having chosen to

             speak about inventory and their decision to scale inventory, Defendants

             were duty-bound not to omit information whose absence rendered their

             statements misleading;

          (b) Failed to disclose that Defendants had “no data” on which to base the

             decision to “scale inventory” or to determine “management’s expectation

             of market demands,” and that this absence of data acted as a constraint on

             their ability to accurately understand the appropriate level of inventory of

             oils and gelcaps, and the market demand for those products. Having chosen

             to speak about inventory and their decision to scale inventory, Defendants

             were duty-bound not to omit information whose absence rendered their

             statements misleading;

          (c) Failed to disclose, as Defendants admitted at the end of the Class Period,

             that the reason for “scaling” inventory “wasn't strictly for the purpose of

             obtaining market share,” but for “getting our brands out there,” and, as

             Defendants failed to ever disclose, because the low-quality cannabis grown

             at Canopy’s grow facilities could only be used to produce oils and gelcaps;

          (d) In violation of IAS 2, failed to state that having “no data” upon which to

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                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands,” was a material constraint on their ability

                 to accurately understand the appropriate level of inventory of oils and

                 gelcaps, and the market demand for those products.

             (e) In violation of IFRS 15, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands,” was a constraint on their ability to

                 accurately understand the appropriate level of inventory of oils and gelcaps,

                 and the market demand for those products.

             (f) Failed to disclose that Defendants had “no data” on which to base the

                 opinion that “significant demand will develop for cannabis oil and in

                 particular soft gels in the recreational market,” and in fact Defendants knew

                 that the decision to increase oil and gelcaps inventory was not in any way

                 based on perceived demand for those products, but on Canopy’s failure to

                 produce “bud” grade cannabis at its grow facilities.

         179.    During the November 14, 2018 Call, in scripted remarks, Defendant

  Saunders stated that:

                 “Management continues to believe that significant demand
                 will develop for cannabis oil and in particular soft gels in
                 the recreational market.” As such, the company continues
                 to increase inventories at extract grade dry cannabis, held
                 for conversion, and increased the quantity of cannabis oil
                 and soft gel caps that we have on hand.”
         180.    The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:


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          (a) Failed to disclose that the exponential increase in the inventory of oils and

             gelcaps resulted from Canopy’s failure to produce “bud” grade cannabis at

             its grow facilities, and that the only use for the low-quality cannabis was

             extraction to produce oils and gelcaps. The increased oils and gelcaps

             inventory was unrelated to, and in fact contrary to, any belief that

             “significant demand will develop for cannabis oil and in particular soft gels

             in the recreational market.” Management was aware of the cannabis quality

             problem by June 2018 at the latest. Having chosen to speak about inventory

             and their decision to scale inventory, Defendants were duty-bound not to

             omit information whose absence rendered their statements misleading;

          (b) Failed to disclose that Defendants had “no data” to support the statement

             that “significant demand will develop for cannabis oil and in particular soft

             gels in the recreational market,” and that this absence of data acted as a

             constraint on their ability to accurately understand the appropriate level of

             inventory of oils and gelcaps, and the market demand for those products.

             Having chosen to speak about inventory and the demand for oils and

             gelcaps, Defendants were duty-bound not to omit information whose

             absence rendered their statements misleading;

          (c) In violation of IAS 2, failed to state that having “no data” upon which to

             base its decision to “increase inventory” of oils and gelcaps, or to

             “increase[] the quantity of cannabis oil and soft gel caps that we have on

             hand” was a constraint on their ability to accurately understand the

             appropriate level of inventory of oils and gelcaps, and the market demand


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                 for those products;

             (d) In violation of IAS 2, failed to state that Canopy’s failure to grow “bud”

                 grade cannabis drove the decision to exponentially increase the inventory

                 of oils and gelcaps, and that there was no market-based demand reason for

                 that decision.

         181.    The November 15 MD&A contains a “Risks and Uncertainties” section

  containing three pages of risks. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The cited risk sections contain no risk factors cautioning

  about inventory buildup, or inventory buildup of gelcaps and/or oils specifically. None of

  the words “inventory,” gelcaps,” or “oils” appear in the Risk Factor section.

         182.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                 in anticipation of the legal recreational cannabis posed a material risk to

                 Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                 was made because of Canopy’s failure to produce “bud” grade cannabis at

                 its grow facilities, and because the only use for the low-quality cannabis

                 was extraction to produce oils and gelcaps;

             (c) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a


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                 constraint on their ability to accurately understand the appropriate level of

                 inventory of oils and gelcaps, and the market demand for those products;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         183.    On November 15, 2018, Canopy filed with the SEC its Condensed Interim

  Consolidated Financial Statements for the three and nine months ended September 30,

  2018 and 2017 (in Canadian dollars). The Balance Sheet in the Financial Statements lists

  “Inventory” as an asset valued at $150,406,000, compared to $101,607,000 as of March

  31, 2018, three months earlier. Note 6 to the Financial Statements, “Inventory,” lists total

  inventory of $150,406,000, consisting in part of $36,306,000 in inventory of Cannabis

  Oils, comprised of $31,109,000 of finished goods and $5,197,000 of works-in-process;

  $9,912 in inventory of Capsules- Finished Goods; and $95,133,000 in inventory of Dry

  Cannabis, comprised of $14,971,000 of finished goods and $80,162,000 in works-in-

  process.

         184.    The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Materially overstated the value of their inventory because they failed

                 adequately to reserve for obsolescence and expiration;

             (b) Materially overstated their inventory because Defendants knew, but

                 omitted disclosing, that the decision to scale inventory of oils and gelcaps

                 was made because of Canopy’s failure to produce “bud” grade cannabis at


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               its grow facilities, and that the only use for the low-quality cannabis was

               extraction to produce oils and gelcaps;

            (c) Materially overstated their inventory because Canopy had “no data” to use

               in deciding to scale up inventory or to understand the market demand for

               those products;

            (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

               of inventory of oils and gelcaps, and impair the inventory;

            (e) In violation of IAS 2, failed to state that having “no data” upon which to

               base its decision to “scale inventory” or to determine “management’s

               expectation of market demands” was a material constraint on Canopy’s

               ability to accurately understand the appropriate level of inventory of oils

               and gelcaps, and the market demand for those products;

            (f) In violation of IAS 2, failed to state that Canopy’s failure to grow “bud”

               grade cannabis drove the decision to exponentially increase the inventory

               of oils and gelcaps, and that there was no market-based demand reason for

               that decision;

            (g) Failed to disclose, as Defendants admitted at the end of the Class Period,

               that the reason for “scaling” inventory “wasn't strictly for the purpose of

               obtaining market share,” but for “getting our brands out there.”

        185.   On February 15, 2019, Defendants filed Management’s Discussion and

  Analysis of the Financial Conditions and Results of Operation for the three and nine

  months ended December 31, 2018. With respect to the Company’s total inventory as of


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  December 31, 2018 of $184,961,000, Defendants stated that “Management believes [it] is

  [all] required to meet expected market demands, including the legalized recreational

  market.”

         186.   The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

             (a) Failed to disclose that the exponential increase in the inventory of oils and

                gelcaps resulted from Canopy’s failure to produce “bud” grade cannabis at

                its grow facilities, and that the only use for the low-quality cannabis was

                extraction to produce oils and gelcaps. The increased oils and gelcaps

                inventory was unrelated to, and in fact contrary to, “management’s …

                expect[ations] [of] market demand,” and management was aware of the

                cannabis quality problem by June 2018 at the latest. Having chosen to

                speak about inventory and their decision to scale inventory, Defendants

                were duty-bound not to omit information whose absence rendered their

                statements misleading;

             (b) Failed to disclose that Defendants had “no data” to support the statement

                that the entire inventory is necessary to meet “market demands,” and that

                this absence of data acted as a constraint on their ability to accurately

                understand the appropriate level of inventory of oils and gelcaps, and the

                market demand for those products. Having chosen to speak about inventory

                and demand for oils and gelcaps, Defendants were duty-bound not to omit

                information whose absence rendered their statements misleading;

             (c) Failed to disclose, as Defendants admitted at the end of the Class Period,

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                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there,” and, as

                 Defendants failed to disclose, because the low-quality cannabis grown at

                 Canopy’s grow facilities could only be used to produce oils and gelcaps;

             (d) In violation of IFRS, failed to state that having “no data” upon which to

                 base the statement that the entire inventory is necessary to meet “market

                 demands,” was a constraint on their ability to accurately understand the

                 appropriate level of inventory of oils and gelcaps, and the market demand

                 for those products. Having chosen to speak about inventory and their

                 decision to scale inventory, Defendants were duty-bound not to omit

                 information whose absence rendered their statements misleading;

             (e) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its statement that the entire inventory was necessary to meet “market

                 … demands,” was a constraint on their ability to accurately understand the

                 appropriate level of inventory of oils and gelcaps, and the market demand

                 for those products;

             (f) In violation of IAS 2, failed to state that Canopy’s failure to grow “bud”

                 grade cannabis drove the decision to exponentially increase the inventory

                 of oils and gelcaps, and that there was no market-based demand reason for

                 that decision.

         187.    The February 15, 2019 MD&A contains a “Risks and Uncertainties”

  section containing two pages of risks. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The cited risk sections contain no risk factors cautioning

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  about inventory buildup, or inventory buildup of gelcaps and/or oils specifically. None of

  the words “inventory,” gelcaps,” or “oils” appear in the Risk Factor section.

         188.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                 in anticipation of the legal recreational cannabis posed a material risk to

                 Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                 was made because of Canopy’s failure to produce “bud” grade cannabis at

                 its grow facilities, and that the only use for the low-quality cannabis was

                 extraction to produce oils and gelcaps;

             (c) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate level of

                 inventory of oils and gelcaps, and the market demand for those products;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         189.    On February 15, 2019, Canopy filed with the SEC its Condensed Interim

  Consolidated Financial Statements for the three and nine months ended December 31,

  2018 and 2017 (in Canadian dollars). The Balance Sheet in the Financial Statements lists


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  “Inventory” as an asset valued at $184,961,000, compared to $101,607,000 as of March

  31, 2018. Note 8 to the Financial Statements, “Inventory,” lists total inventory of

  $184,961,000, consisting in part of $22,245,000 of finished goods and $120,912,000 in

  work-in-process. Canopy chose not to provide any further breakdown of its inventory,

  including a breakdown of inventory by dry flower, oils, and gelcaps.

         190.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Materially overstated the value of their inventory because Defendants

                failed adequately to reserve for obsolescence and expiration;

             (b) Materially overstated their inventory because Defendants knew, but

                omitted disclosing, that the decision to scale inventory of oils and gelcaps

                was made because of Canopy’s failure to produce “bud” grade cannabis at

                its grow facilities, and that the only use for the low-quality cannabis was

                extraction to produce oils and gelcaps;

             (c) Materially overstated their inventory because Canopy had “no data” to use

                in deciding to scale up inventory or to understand the market demand for

                those products;

             (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                of inventory of oils and gelcaps, and impair the inventory;

             (e) In violation of IAS 2, failed to state that having “no data” upon which to

                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands” was a material constraint on Canopy’s


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                 ability to accurately understand the appropriate level of inventory of oils

                 and gelcaps, and the market demand for those products;

             (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

          191.   In the February 15, 2019, Condensed Interim Consolidated Financial

  Statements for the three and nine months ended December 31, 2018 and 2017 (in

  Canadian dollars), Canopy reported $83,048,000 in net revenue for the three months

  ended December 31, 2018, and $132,291,000 for the nine months ended December 31,

  2018.

          192.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) In violation of IFRS 15, materially overstated revenue, failing adequately

                 to reserve revenue for returns of oils and gelcaps and price concessions on

                 oils and gelcaps;

             (b) In violation of IFRS 15, materially overstated revenue from oils and

                 gelcaps, recognizing material amounts of revenue when it was not “highly

                 probable” that a significant reversal of that revenue would not occur;

             (c) In violation of IFRS 15, failed to disclose to investors that Canopy had “no

                 data” with which to accurately decide the amount of variable consideration

                 to recognize as revenue;

             (d) In violation of IFRS 15, failed to disclose that the decision to exponentially

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                grow inventory of oils and gelcaps was based on Canopy’s failure to grow

                “bud” grade cannabis, rather than any market-based reason, and it was not

                “highly probable” that a significant reversal of revenue from oils and

                gelcaps would not occur;

            (e) In violation of IFRS 15, failed to disclose quantitative and qualitative

                information about its contracts with customers and the significant

                judgments made in applying IFRS 15.

         193.   On June 26, 2019, the same date that Defendants Linton and Zekulin made

  millions of dollars of profit selling Canopy shares on the Canadian exchange, Canopy

  filed its Consolidated Financial Statements for the years ended March 31, 2019 and 2018

  (in Canadian dollars), attached as an exhibit to the June 26, 2019 “Form 40-F for the

  Fiscal Year Ended March 31, 2019,” Canopy reported $226,341,000 in net revenue for the

  year ended March 31, 2019, and $77,948,000 for the year ended March 31, 2018.

         194.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

            (a) In violation of IFRS 15, materially overstated revenue, failing adequately

                to reserve revenue for returns of oils and gelcaps and price concessions on

                oils and gelcaps;

            (b) In violation of IFRS 15, materially overstated revenue from oils and

                gelcaps, recognizing material amounts of revenue when it was not “highly

                probable” that a significant reversal of that revenue would not occur;

            (c) In violation of IFRS 15, failed to disclose to investors that Canopy had “no


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                    data” with which to accurately decide the amount of variable consideration

                    to recognize as revenue;

             (d) In violation of IFRS 15, failed to disclose that the decision to exponentially

                    grow inventory of oils and gelcaps was based on Canopy’s failure to grow

                    “bud” grade cannabis, rather than any market-based reason, and it was not

                    “highly probable” that a significant reversal of revenue from oils and

                    gelcaps would not occur;

             (e) In violation of IFRS 15, failed to disclose quantitative and qualitative

                    information about its contracts with customers and the significant

                    judgments made in applying IFRS 15.

         195.       On June 26, 2019, Canopy filed with the SEC its Annual Information Form

  for the Period Ended March 31, 2019 (“2019 AIF”), as an exhibit to its 2019 40-F. The

  2019 AIF has a section entitled “Risk Factors” that is 24 pages long. The Risk Factor

  section does not caution about inventory buildup, or inventory buildup of gelcaps and/or

  oils specifically. None of the words “inventory,” gelcaps,” or “oils” appear in the Risk

  Factor section.

         196.       The foregoing “Risk Factor” section was materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                    in anticipation of the legal recreational cannabis posed a material risk to

                    Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that the decision to scale inventory of oils and gelcaps


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                 was made because of Canopy’s failure to produce “bud” grade cannabis at

                 its grow facilities, and that the only use for the low-quality cannabis was

                 extraction to produce oils and gelcaps;

             (c) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 “Inventory” as an asset valued at inventory of oils and gelcaps, and the

                 market demand for those products;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         197.    In the June 26, 2019, Consolidated Financial Statements for the years

  ended March 31, 2019 and 2018 (in Canadian dollars), the Balance Sheet in the Financial

  Statements lists “Inventory” as an asset valued at $262,105,000 as of March 31, 2019,

  compared to $101,607,000 as of March 31, 2018. Note 9 to the Financial Statements,

  “Inventory,” lists total inventory of $262,105,000, consisting in part of $38,048,000 of

  finished goods and $165,462,000 in work-in-process. Canopy chose not to provide any

  further breakdown of its inventory, including a breakdown of inventory by dry flower,

  oils, and gelcaps.

         198.    The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Materially overstated the value of their inventory because Defendants


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               failed adequately to reserve for obsolescence and expiration;

            (b) Materially overstated their inventory because Defendants knew, but

               omitted disclosing, that the decision to scale inventory of oils and gelcaps

               was made because of Canopy’s failure to produce “bud” grade cannabis at

               its grow facilities, and that the only use for the low-quality cannabis was

               extraction to produce oils and gelcaps;

            (c) Materially overstated their inventory because Canopy had “no data” to use

               in deciding to scale up inventory or to understand the market demand for

               those products;

            (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

               of inventory of oils and gelcaps, and impair the inventory;

            (e) In violation of IAS 2, failed to state that having “no data” upon which to

               base its decision to “scale inventory” or to determine “management’s

               expectation of market demands” was a material constraint on Canopy’s

               ability to accurately understand the appropriate level of inventory of oils

               and gelcaps, and the market demand for those products;

            (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

               that the reason for “scaling” inventory “wasn't strictly for the purpose of

               obtaining market share,” but for “getting our brands out there.”

        199.   In the August 14, 2019, Condensed Interim Consolidated Financial

  Statements for the three months ended June 30, 2019 and 2018 (in Canadian dollars),

  Canopy reported $90,482,000 in net revenue for the three months ended June 30, 2019,


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  and $25,916,000 for the three months ended June 30, 2018.

         200.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

            (a) In violation of IFRS 15, materially overstated revenue, failing adequately

                to reserve revenue for returns of oils and gelcaps and price concessions on

                oils and gelcaps;

            (b) In violation of IFRS 15, materially overstated revenue from oils and

                gelcaps, recognizing material amounts of revenue when it was not “highly

                probable” that a significant reversal of that revenue would not occur;

            (c) In violation of IFRS 15, failed to disclose to investors that Canopy had “no

                data” with which to accurately decide the amount of variable consideration

                to recognize as revenue;

            (d) In violation of IFRS 15, failed to disclose that the decision to exponentially

                grow inventory of oils and gelcaps was based on Canopy’s failure to grow

                “bud” grade cannabis, rather than any market-based reason, and it was not

                “highly probable” that a significant reversal of revenue from oils and

                gelcaps would not occur;

            (e) In violation of IFRS 15, failed to disclose quantitative and qualitative

                information about its contracts with customers and the significant

                judgments made in applying IFRS 15.

         201.   On August 14, 2019, Canopy filed with the SEC its Condensed Interim

  Consolidated Financial Statements for the three months ended June 30, 2019 and 2018 (in

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  Canadian dollars). The Balance Sheet in the Financial Statements lists “Inventory” as an

  asset valued at $393,738,000 as of June 30, 2019, compared to $262,105,000 as of March

  31, 2019. Note 7 to the Financial Statements, “Inventory,” lists total inventory of

  $393,738,000, consisting in part of $93,132,000 of finished goods and $247,212,000 in

  work-in-process. Canopy chose not to provide any further breakdown of its inventory,

  including a breakdown of inventory by dry flower, oils, and gelcaps.

         202.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Materially overstated the value of their inventory because Defendants

                failed adequately to reserve for obsolescence and expiration despite being

                aware of indicators of over-supply of certain oils and gelcaps formats;

             (b) Materially overstated their inventory because Defendants knew, but

                omitted disclosing, that the decision to scale inventory of oils and gelcaps

                was made because of Canopy’s failure to produce “bud” grade cannabis at

                its grow facilities, and that the only use for the low-quality cannabis was

                extraction to produce oils and gelcaps;

             (c) Materially overstated their inventory because Canopy had “no data” to use

                in deciding to scale up inventory or to understand the market demand for

                those products;

             (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                of inventory of oils and gelcaps, and impair the inventory. Defendants

                knew that sales of oils and gelcaps were stagnant, and that they took an $8


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                 million revenue charge because of returns of oils and gelcaps. This was an

                 indicator requiring Canopy to evaluate the net realizable value of its large

                 inventory of oils and gelcaps, and to impair the value of inventory;

             (e) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands” was a material constraint on Canopy’s

                 ability to accurately understand the appropriate level of inventory of oils

                 and gelcaps, and the market demand for those products;

             (f) In violation of IAS 2, failed to state that Canopy’s failure to grow “bud”

                 grade cannabis drove the decision to exponentially increase the inventory

                 of oils and gelcaps, and that there was no market-based demand reason for

                 that decision;

             (g) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         203.    On August 14, 2019, Canopy filed its Management’s Discussion and

  Analysis of Financial Condition and Results of Operation for the three months ended June

  30, 2019. The MD&A contains a “Risks and Uncertainties” section containing one

  paragraph of risks. The section also refers investors to the “Risk Factors” section in

  Canopy’s Annual Information Form filed in conjunction with its stock sold on the Toronto

  Stock Exchange. The cited risk sections contain no risk factors cautioning about inventory

  buildup, or inventory buildup of gelcaps and/or oils specifically. None of the words

  “inventory,” gelcaps,” or “oils” appear in the Risk Factor section.

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         204.   The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                in anticipation of the legal recreational cannabis posed a material risk to

                Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                was made because of Canopy’s failure to produce “bud” grade cannabis at

                its grow facilities, and that the only use for the low-quality cannabis was

                extraction to produce oils and gelcaps;

             (c) Omitted disclosing that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that the lack of data could and did act as a

                constraint on their ability to accurately understand the appropriate level of

                inventory of oils and gelcaps, and the market demand for those products;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         205.   During the August 15, 2019 Call, in response to an analyst’s inquiry about

  whether the $8 million in returns of oils and gelcaps deducted from revenue was

  “something that we could expect to have coming in future quarters, Defendant Lee

  responded “I would say this is something that I wouldn’t expect to move the P&L in the

  future.”


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         206.    In response to another analyst question, Defendant Kovacevic assured that

  the $8 million in returns affecting revenue were not “a cause [for] concern going forward.”

         207.    In response to another analyst question, Defendant Zekulin told analysts

  that the $8 million revenue reversal did not implicate the correctness of Canopy’s

  inventory levels in any way, stating “[n]o it is not related to our production flow here,

  simply related to the product mix that we see demand for.”

         208.    The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

             (a) In violation of IFRS 15, failed adequately to reserve revenue for returns of

                 oils and gelcaps and price concessions on oils and gelcaps;

             (b) Failed to disclose that there was little demand for oils and gelcaps, and

                 material returns and/or price concessions in the near future were highly

                 probable;

             (c) Failed to disclose that Defendants had “no data” on which to base their

                 opinions about market demand for cannabis oil and softgels, and in fact

                 Defendants knew that the decision to increase oil and gelcaps inventory

                 was not in any way based on perceived demand for those products, but on

                 Canopy’s failure to produce “bud” grade cannabis at its grow facilities.

             (d) Having admitted during the same call that there existed a “risk of an over-

                 supply of certain oil and softgel formats [] in certain markets,” Canopy was

                 required to evaluate its inventory of oils and gelcaps inventory for

                 impairment, and should have impaired inventory in August of 2019, and


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                not three months later in November of 2019. Telling the market that the

                problems with low demand for oils and gelcaps were now over and would

                not negatively impact future financial statements was false;

            (e) In violation of IAS 2, failed to evaluate and impair their enormous

                inventory of oils and gelcaps in the wake of the truth that those products

                were not only not being sold, but were being returned;

            (f) In violation of IAS 2, failed to state that Canopy’s failure to grow “bud”

                grade cannabis drove the decision to exponentially increase the inventory

                of oils and gelcaps, and that there was no market-based demand reason for

                that decision.

     B. Defendants’ False and Misleading Statements Concerning Its Dry Flower
        Inventory

         209.   On June 27, 2018, Canopy issued a press release, signed by Defendant

  Linton, attached to a filed 6-K, entitled Canopy Growth Corporation Reports Fourth

  Quarter and Fiscal Year 2018 Financial Results: Driving Readiness for the Canadian

  Recreational Cannabis Market. Canopy stated:

                Inventory at March 31, 2018 amounted to $101.6 million
                (March 31, 2017 - $46.0 million) and biological assets
                amounted to $16.3 million (March 31, 2017 - $14.7 million),
                together totaling $117.9 million (March 31, 2017 - $60.7
                million). Inventories are continuing to be scaled to meet
                management's expectation of market demands, including
                the legalized recreational market expected later in
                calendar 2018.
                At March 31, 2018, the Company held 15,726 kilograms of
                dry cannabis . . . . Included in the dry cannabis quantities
                was 2,982 kilograms available for sale in the Company's
                online stores and 3,480 kilograms in process of finishing or
                awaiting approval for sale and 9,264 kilograms of extract-
                grade cannabis held for conversion to saleable oils and

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                capsules.
         210.   The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

            (a) Failed to disclose that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that this absence of data disabled them from

                accurately understanding the appropriate level of inventory and market

                demand for dry flower, and the market demand for dry flower products.

                Having chosen to speak about inventory and their decision to scale dry

                flower inventory, Defendants were duty-bound not to omit information

                whose absence rendered their statements misleading;

            (b) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there;”

            (c) Failed to disclose that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

            (d) In violation of IAS 2, failed to state that having “no data” upon which to

                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands,” was a material constraint on their ability

                accurately to understand the appropriate level of inventory and market

                demand for dry flower products.

            (e) In violation of IFRS 15, failed to state that having “no data” upon which to

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                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands,” was a constraint on their ability to

                accurately understand the appropriate level of inventory and market

                demand for dry flower products.

         211.    On June 28, 2018, Canopy filed with the SEC its 2018 AIF as an exhibit to

  its 2018 40-F. The 2018 AIF has a section entitled “Risk Factors” that is 16 pages long.

  The Risk Factor section contains no risk factors cautioning about inventory buildup of dry

  flower. Indeed, the word “inventory” does not even appear in the Risk Factor section.

         212.   The foregoing “Risk Factor” section was materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of dry flower in

                anticipation of the legal recreational cannabis posed a material risk to

                Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that the lack of data could and did act as a

                constraint on their ability to accurately understand the appropriate level of

                inventory and market demand for dry flower products;

             (c) Omitted disclosing that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,


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                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         213.   On June 28, 2018, Canopy filed with the SEC its “Consolidated Financial

  Statements for the years ended March 31, 2018 and 2017 (in Canadian dollars”). The

  Balance Sheet in the Financial Statements lists “Inventory” as an asset valued at

  $101,607,000. Note 6 to the Financial Statements, “Inventory,” lists total inventory of

  $101,607,000, consisting in part of $65,423,000 in inventory of dry flower, comprised of

  $14,114,000 of finished goods and $51,309,000 in works-in-process.

         214.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

            (a) Materially overstated the value of their dry flower inventory because they

                failed adequately to reserve for obsolescence and expiration;

            (b) Materially overstated their dry flower inventory because Canopy had “no

                data” to use in deciding to scale up inventory or to understand the market

                demand for those products;

            (c) Materially overstated the value of the dry flower inventory because

                Defendants knew that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

            (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                of inventory of dry flower and impair the inventory;

            (e) In violation of IAS 2, failed to state that having “no data” upon which to

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                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands” was a material constraint on Canopy’s

                ability to accurately understand the appropriate level of inventory and

                market demand for dry flower;

            (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         215.   On August 15, 2018, Canopy issued a press release, signed by Defendant

  Linton, attached to a filed 6-K, entitled Canopy Growth Corporation Reports First

  Quarter Fiscal 2019 Financial Results. In a section entitled “First Quarter Fiscal 2019

  Balance Sheet Highlights,” Canopy wrote that:

                Inventory at June 30, 2018 amounted to $118.2 million
                (March 31, 2018 - $101.6 million) and biological assets
                amounted to $52.8 million (March 31, 2018 - $16.3 million),
                together totaling $171.0 million (March 31, 2018 - $117.9
                million). Inventories are continuing to be scaled to meet
                management's expectation of market demands, including
                the legalized recreational market expected later in
                calendar                                             2018.

                At June 30, 2018, the Company held inventory of 19,721
                kilograms of dry cannabis . . . . Included in the dry cannabis
                quantities was 2,594 kilograms available for sale in the
                Company's online stores and 6,576 kilograms in process of
                finishing or awaiting approval for sale and 10,551 kilograms
                of cannabis held for conversion to saleable oils and
                softgel capsules.
         216.   On August 15, 2018, Defendants filed Management’s Discussion and

  Analysis of the Financial Condition and Results of Operations for the three months ended

  June 30, 2018 (“August 15 MD&A”). In the MD&A Defendants wrote that “Inventories

  are continuing to be scaled to meet management's expectation of market demands,

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  including the legalized recreational market expected later in calendar 2018.”

         217.   The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

            (a) Failed to disclose that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that this absence of data disabled them from

                accurately understanding the appropriate level of inventory and market

                demand for dry flower, and the market demand for dry flower products.

                Having chosen to speak about inventory and their decision to scale dry

                flower inventory, Defendants were duty-bound not to omit information

                whose absence rendered their statements misleading;

            (b) Failed to disclose that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

            (c) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

            (d) In violation of IAS 2, failed to state that having “no data” upon which to

                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands,” was a material constraint on their ability

                accurately to understand the appropriate level of inventory and market

                demand for dry flower products.


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             (e) In violation of IFRS 15, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands,” was a constraint on their ability to

                 accurately understand the appropriate level of inventory and market

                 demand for dry flower products.

         218.    The August 15 MD&A contains a “Risks and Uncertainties” section

  containing two pages of risks. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The cited risk sections contain no risk factors cautioning

  about inventory buildup, or inventory buildup of dry flower. Indeed, the word “inventory”

  does not appear in the Risk Factor section.

         219.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of dry flower in

                 anticipation of the legal recreational cannabis posed a material risk to

                 Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate level of

                 inventory of dry cannabis and the market demand for those products;

             (c) Omitted disclosing that Canopy’s storage vaults already held more dry

                 flower inventory than Canopy could ever hope to sell before the product


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                 expired;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         220.    On August 15, 2018, Canopy filed with the SEC its Condensed Interim

  Consolidated Financial Statements for the three months ended June 30, 2018 and 2017 (in

  Canadian dollar”). The Balance Sheet in the Financial Statements lists “Inventory” as an

  asset valued at valued at $118,204,000, compared to $101,607,000 as of March 31, 2018,

  three months earlier. Note 6 to the Financial Statements, “Inventory,” lists total inventory

  of $118,204,000, consisting in part of $71,755,000 in inventory of Dry Cannabis,

  comprised of $13,352,000 of finished goods and $58,403,000 in works-in-process.

         221.    The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Materially overstated the value of their inventory because they failed

                 adequately to reserve for obsolescence and expiration;

             (b) Materially overstated their inventory because Canopy had “no data” to use

                 in deciding to scale up inventory or understand the market demand for dry

                 cannabis;

             (c) Materially overstated the value of the dry flower inventory because

                 Defendants knew that Canopy’s storage vaults already held more dry

                 flower inventory than Canopy could ever hope to sell before the product

                 expired;


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             (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                 of inventory of dry cannabis and impair the inventory;

             (e) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands” was a material constraint on Canopy’s

                 ability to accurately understand the appropriate level of inventory and

                 market demand for dry cannabis.

         222.    During the August 15, 2019 Call, after announcing the $8 million revenue

  reversal for returns of oils and gelcaps, an analyst asked with respect to dry flower:

                 Owen Bennett

                 But I mean, how confident are you once you kind of fill the
                 channel in terms of us speaking and kind of longer channels
                 over the next few quarters. I mean is there rigs there similar
                 to what you see with the softgels and the oils now, where
                 you are going to have to put in provisions to returns on
                 some of these flowers?

                 Mark Zekulin

                 We remain very confident. I think part of our effort to
                 push product out early and obtain market share, wasn't
                 strictly for the purpose of obtaining market share, it was
                 for getting our brands out there . . . .
         223.    The foregoing statement was materially false and/or misleading because

  Defendants knowingly or recklessly:

             (a) Failed to disclose material facts incompatible with their “very confident”

                 opinion, namely that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that this absence of data acted as a constraint on


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                their ability to accurately understand the appropriate level of inventory and

                market demand for dry cannabis, and undermined Defendants’ statement

                that they were “very confident.” Having chosen to speak about inventory

                and their decision to scale inventory, Defendants were duty-bound not to

                omit information whose absence rendered their statements misleading;

            (b) Failed to disclose that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

            (c) In violation of IAS 2, failed to state that having “no data” upon which to

                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands,” was a material constraint on their ability

                to accurately understand the appropriate level of inventory and market

                demand for dry cannabis.

            (d) In violation of IFRS 15, failed to state that having “no data” upon which to

                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands,” was a constraint on their ability to

                accurately understand the appropriate level of inventory and market

                demand for dry cannabis.

         224.   On November 14, 2018, Canopy issued a press release, signed by

  Defendant Linton, attached to a 6-K filed on November 15, 2018, entitled Canopy Growth

  Corporation Reports Second Quarter Fiscal 2019 Financial Results. In a section entitled

  “Second Quarter Fiscal 2019 Balance Sheet Highlights,” Canopy wrote that:

                Inventory at September 30, 2018 amounted to $150.4

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                million (March 31, 2018 - $101.6 million) and biological
                assets amounted to $20.7 million (March 31, 2018 - $16.3
                million), together totaling $171.1 million (March 31, 2018 -
                $117.9 million). Inventories are continuing to be scaled to
                meet management's expectation of market demands,
                including the legalized recreational market and meeting
                medical customer commitments.

                At September 30, 2018, the Company held inventory of
                31,214 kilograms of dry cannabis, 21,499 litres of cannabis
                oils, ranging from concentrated resins, or refined oil, to
                finished oil, and 1,497 kilograms of Softgel capsules.

         225.   On November 15, 2018, Defendants filed Management’s Discussion and

  Analysis of the Financial Condition and Results of Operations for the three and six

  months ended September 30, 2018 (“November 15 MD&A”). In the MD&A Defendants

  wrote that “Inventories are continuing to be scaled to meet management's expectation of

  market demands, including the legalized recreational market which commenced

  October 17, 2018.”

         226.   During the November 14, 2018 Call, in scripted remarks, Defendant

  Saunders stated that “Inventories are continuing to be scaled to meet management's

  expectation of market demands, including the legalized recreational market.”

         227.   The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

            (a) Failed to disclose that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that this absence of data acted as a constraint on

                their ability to accurately understand the appropriate level of inventory and

                market demand for dry cannabis. Having chosen to speak about inventory


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                 and their decision to scale inventory, Defendants were duty-bound not to

                 omit information whose absence rendered their statements misleading;

             (b) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there;”

             (c) Failed to disclose that Canopy’s storage vaults already held more dry

                 flower inventory than Canopy could ever hope to sell before the product

                 expired;

             (d) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands,” was a material constraint on their ability

                 to accurately understand the appropriate level of inventory and market

                 demand for dry cannabis;

             (e) In violation of IFRS 15, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands,” was a constraint on their ability to

                 accurately understand the appropriate level of inventory and market

                 demand for dry cannabis.

         228.    The November 15 MD&A contains a “Risks and Uncertainties” section

  containing three pages of risks. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The cited risk sections contain no risk factors cautioning

  about inventory buildup, or inventory buildup of dry cannabis specifically. Indeed, the


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  word “inventory” does not appear in the Risk Factor section.

         229.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of dry cannabis in

                 anticipation of the legal recreational cannabis posed a material risk to

                 Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate level of

                 inventory of dry cannabis and the market demand for those products;

             (c) Omitted disclosing that Canopy’s storage vaults already held more dry

                 flower inventory than Canopy could ever hope to sell before the product

                 expired;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         230.    On November 15, 2018, Canopy filed with the SEC its Condensed Interim

  Consolidated Financial Statements for the three and nine months ended September 30,

  2018 and 2017 (in Canadian dollars). The Balance Sheet in the Financial Statements lists

  “Inventory” as an asset valued at $150,406,000, compared to $101,607,000 as of March

  31, 2018, three months earlier. Note 6 to the Financial Statements, “Inventory,” lists total


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  inventory of $150,406,000, consisting in part of $95,133,000 in inventory of Dry

  Cannabis, comprised of $14,971,000 of finished goods and $80,162,000 in works-in-

  process;.

         231.    The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

              (a) Materially overstated the value of their dry cannabis inventory because

                 they failed adequately to reserve for obsolescence and expiration;

              (b) Materially overstated their dry cannabis inventory because Canopy had “no

                 data” to use in deciding to scale up inventory or to understand the market

                 demand for dry cannabis;

              (c) Materially overstated the value of the dry flower inventory because

                 Defendants knew that Canopy’s storage vaults already held more dry

                 flower inventory than Canopy could ever hope to sell before the product

                 expired;

              (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                 of inventory of dry cannabis and impair the inventory;

              (e) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands” was a material constraint on Canopy’s

                 ability to accurately understand the appropriate level of inventory and

                 market demand for dry cannabis;

              (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

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                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         232.   On February 15, 2019, Defendants filed Management’s Discussion and

  Analysis of the Financial Conditions and Results of Operation for the three and nine

  months ended December 31, 2018. With respect to the Company’s total inventory as of

  December 31, 2018 of $184,961,000, Defendants stated that “Management believes [it] is

  [all] required to meet expected market demands, including the legalized recreational

  market.”

         233.   The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

             (a) Failed to disclose that Defendants had “no data” to support the statement

                that the entire inventory is necessary to meet “market demands,” and that

                this absence of data acted as a constraint on their ability to accurately

                understand the appropriate level of inventory and market demand for dry

                cannabis. Having chosen to speak about inventory and demand for dry

                cannabis, Defendants were duty-bound not to omit information whose

                absence rendered their statements misleading;

             (b) Failed to disclose that Defendants knew that Canopy’s storage vaults

                already held more dry flower inventory than Canopy could ever hope to

                sell before the product expired;

             (c) In violation of IFRS, failed to state that having “no data” upon which to

                base the statement that the entire inventory is necessary to meet “market


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                 demands,” was a constraint on their ability to accurately understand the

                 appropriate level of inventory and market demand for dry cannabis, oils,

                 and gelcaps. Having chosen to speak about inventory and their decision to

                 scale inventory, Defendants were duty-bound not to omit information

                 whose absence rendered their statements misleading;

             (d) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its statement that the entire inventory was necessary to meet “market

                 … demands,” was a constraint on their ability to accurately understand the

                 appropriate level of inventory and market demand for dry cannabis.

         234.    The February 15, 2019 MD&A contains a “Risks and Uncertainties”

  section containing two pages of risks. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The cited risk sections contain no risk factors cautioning

  about inventory buildup, or inventory buildup of dry cannabis specifically. The word

  “inventory” does not appear in the Risk Factor section.

         235.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of dry cannabis in

                 anticipation of the legal recreational cannabis posed a material risk to

                 Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a


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                constraint on their ability to accurately understand the appropriate level and

                market demand for dry cannabis;

             (c) Omitted disclosing that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         236.   On February 15, 2019, Canopy filed with the SEC its Condensed Interim

  Consolidated Financial Statements for the three and nine months ended December 31,

  2018 and 2017 (in Canadian dollars). The Balance Sheet in the Financial Statements lists

  “Inventory” as an asset valued at $184,961,000, compared to $101,607,000 as of March

  31, 2018. Note 8 to the Financial Statements, “Inventory,” lists total inventory of

  $184,961,000, consisting in part of $22,245,000 of finished goods and $120,912,000 in

  work-in-process. Canopy chose not to provide any further breakdown of its inventory,

  including a breakdown of inventory by dry flower, oils, and gelcaps.

         237.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Materially overstated the value of their inventory because Defendants

                failed adequately to reserve for obsolescence and expiration;

             (b) Materially overstated their inventory because Canopy had “no data” to use

                in deciding to scale up inventory or to understand the market demand for


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                 those products;

             (c) Materially overstated the value of the dry flower inventory because

                 Defendants knew that Canopy’s storage vaults already held more dry

                 flower inventory than Canopy could ever hope to sell before the product

                 expired;

             (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                 of inventory of dry cannabis and impair the inventory;

             (e) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands” was a material constraint on Canopy’s

                 ability to accurately understand the appropriate level of inventory and

                 market demand for dry cannabis;

             (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         238.    On June 26, 2019, Canopy filed with the SEC its Annual Information Form

  for the Period Ended March 31, 2019 (“2019 AIF”), as an exhibit to its 2019 40-F. The

  2019 AIF has a section entitled “Risk Factors” that is 24 pages long. The Risk Factor

  section does not caution about inventory buildup, or inventory buildup of dry cannabis

  specifically. Indeed, the word inventory does not appear in the Risk Factor section.

         239.    The foregoing “Risk Factor” section was materially false and/or misleading

  because Defendants knowingly or recklessly:


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             (a) Omitted disclosing that the decision to scale inventory of dry cannabis in

                anticipation of the legal recreational cannabis posed a material risk to

                Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that the lack of data could and did act as a

                “Inventory” as an asset valued at inventory and market demand for dry

                cannabis;

             (c) Omitted disclosing that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         240.   In the June 26, 2019, Consolidated Financial Statements for the years

  ended March 31, 2019 and 2018 (in Canadian dollars), issued the same date that

  Defendants Linton and Zekulin made millions of dollars of profit selling Canopy shares on

  the Canadian exchange, the Balance Sheet in the Financial Statements lists “Inventory” as

  an asset valued at $262,105,000 as of March 31, 2019, compared to $101,607,000 as of

  March 31, 2018. Note 9 to the Financial Statements, “Inventory,” lists total inventory of

  $262,105,000, consisting in part of $38,048,000 of finished goods and $165,462,000 in

  work-in-process. Canopy chose not to provide any further breakdown of its inventory,

  including a breakdown of inventory by dry cannabis.

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         241.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

            (a) Materially overstated the value of their inventory because Defendants

                failed adequately to reserve for obsolescence and expiration;

            (b) Materially overstated their inventory because Canopy had “no data” to use

                in deciding to scale up inventory or to understand the market demand for

                dry cannabis;

            (c) Materially overstated the value of the dry flower inventory because

                Defendants knew that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

            (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                of inventory of dry cannabis and impair the inventory;

            (e) In violation of IAS 2, failed to state that having “no data” upon which to

                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands” was a material constraint on Canopy’s

                ability to accurately understand the appropriate level of inventory and

                market demand for dry cannabis;

            (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         242.   On August 14, 2019, Canopy filed with the SEC its Condensed Interim

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  Consolidated Financial Statements for the three months ended June 30, 2019 and 2018 (in

  Canadian dollars). The Balance Sheet in the Financial Statements lists “Inventory” as an

  asset valued at $393,738,000 as of June 30, 2019, compared to $262,105,000 as of March

  31, 2019. Note 7 to the Financial Statements, “Inventory,” lists total inventory of

  $393,738,000, consisting in part of $93,132,000 of finished goods and $247,212,000 in

  work-in-process. Canopy chose not to provide any further breakdown of its inventory,

  including a breakdown of inventory by dry cannabis.

         243.   The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

            (a) Materially overstated the value of their inventory because Defendants

                failed adequately to reserve for obsolescence and expiration despite being

                aware of indicators of over-supply of dry cannabis;

            (b) Materially overstated their inventory because Canopy had “no data” to use

                in deciding to scale up inventory or to understand the market demand for

                dry cannabis;

            (c) Materially overstated the value of the dry flower inventory because

                Defendants knew that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

            (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                of inventory of dry cannabis and impair the inventory. Defendants knew

                that sales of dry cannabis was stagnant, and that they had taken that quarter


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                 an $8 million revenue charge because of returns of oils and gelcaps. This

                 was an indicator requiring Canopy to evaluate the net realizable value of its

                 large inventory of dry cannabis, and to impair the value of inventory

                 because Canopy used dry cannabis to make its oils and gelcaps and because

                 Canopy knew that its earlier assessment of the cannabis market was wrong;

             (e) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands” was a material constraint on Canopy’s

                 ability to accurately understand the appropriate level of inventory and

                 market demand for dry cannabis;

             (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         244.    On August 14, 2019, Canopy filed its Management’s Discussion and

  Analysis of Financial Condition and Results of Operation for the three months ended June

  30, 2019. The MD&A contains a “Risks and Uncertainties” section containing one

  paragraph of risks. The section also refers investors to the “Risk Factors” section in

  Canopy’s Annual Information Form filed in conjunction with its stock sold on the Toronto

  Stock Exchange. The cited risk sections contain no risk factors cautioning about inventory

  buildup, or inventory buildup of dry cannabis specifically. Indeed, the word “inventory”

  does not appear in the Risk Factor section.

         245.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

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             (a) Omitted disclosing that the decision to scale inventory of dry cannabis

                posed a material risk to Canopy’s business, financial condition and results

                of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that the lack of data could and did act as a

                constraint on their ability to accurately understand the appropriate level of

                inventory and market demand for dry cannabis;

             (c) Omitted disclosing that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         246.   During the August 15, 2019 Call, in response to an analyst question about

  whether the returns could continue to be an issue or affect dry flow inventory, Defendant

  Kovacevic assured that the $8 million in returns affecting revenue were not “a cause [for]

  concern going forward.”

         247.   In response to another analyst question, Defendant Zekulin told analysts

  that the $8 million revenue reversal did not implicate the correctness of Canopy’s

  inventory levels in any way, stating “[n]o it is not related to our production flow here,

  simply related to the product mix that we see demand for.” The foregoing statements were


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  materially false and/or misleading because Defendants knowingly or recklessly:

             (a) Failed to disclose that the Company had built up so much inventory of dry

                 flower that it could never sell a material portion of the dry flower

                 inventory, and material returns and/or price concessions in the near future

                 were highly probable;

             (b) Having admitted during the same call the “risk of an over-supply of certain

                 oil and softgel formats [] in certain markets,” Canopy was required to

                 evaluate its entire inventory for impairment, including of dry flower, and

                 should have impaired inventory of dry flower in August of 2019, and not

                 nine months later in May 2020, because Canopy used dry cannabis to make

                 its oils and gelcaps, and because Canopy knew that its earlier assessment of

                 the cannabis market was wrong. Telling the market that the problems with

                 inventory were limited to oils and gelcaps, and would not negatively

                 impact future financial statements, was false.

         248.    On November 14, 2019, Canopy filed with the SEC its Condensed Interim

  Consolidated Financial Statements for the three and six months ended September 30, 2019

  and 2018 (in Canadian dollars). The Balance Sheet in the Financial Statements lists

  “Inventory” as an asset valued at $461,757,000 as of June 30, 2019, compared to

  $262,105,000 as of March 31, 2019. Note 7 to the Financial Statements, “Inventory,” lists

  total inventory of $461,757,000, consisting in part of $131,474,000 of finished goods and

  $280,093,000 in work-in-process. Canopy chose not to provide any further breakdown of

  its inventory, including a breakdown of inventory by dry flower, oils, and gelcaps.

         249.    The foregoing financial statements were materially false and/or misleading

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  because Defendants knowingly or recklessly:

            (a) Materially overstated the value of their inventory because Defendants

                failed adequately to reserve for obsolescence and expiration despite being

                aware of indicators of over-supply of dry cannabis;

            (b) Materially overstated their inventory because Canopy had “no data” to use

                in deciding to scale up inventory or to understand the market demand for

                those products;

            (c) Materially overstated the value of the dry flower inventory because

                Defendants knew that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

            (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                of inventory of dry cannabis and impair the inventory. Defendants knew

                that sales of dry cannabis were stagnant, and that they took “a restructuring

                charge of $32.7 million for returns, return provisions, and pricing

                allowances primarily related to its softgel & oil portfolio,” as well as an

                “inventory charge of $15.9 million.” This was an indicator requiring

                Canopy to evaluate the net realizable value of its large inventory of dry

                cannabis, and to impair the value of that inventory, because Canopy used

                dry cannabis to make its oils and gelcaps and because Canopy knew that its

                earlier assessment of the cannabis market was wrong;

            (e) In violation of IAS 2, failed to state that having “no data” upon which to


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                base its decision to “scale inventory” or to determine “management’s

                expectation of market demands” was a material constraint on Canopy’s

                ability to accurately understand the appropriate level of inventory of dry

                cannabis and the market demand for those products;

             (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         250.   On November 14, 2019, Canopy filed its Management’s Discussion and

  Analysis of Financial Condition and Results of Operation for the three months ended June

  30, 2019. The MD&A contains a “Risks and Uncertainties” section containing one

  paragraph of risks. The section also refers investors to the “Risk Factors” section in

  Canopy’s Annual Information Form filed in conjunction with its stock sold on the Toronto

  Stock Exchange. Even though the Company that same day announced restructuring

  charges and impairments of over $47 million, including $15.9 million related to its

  inventory, the cited risk sections contain no risk factors cautioning about inventory

  buildup. The word “inventory” does not appear in the Risk Factor section.

         251.   The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to scale inventory of dry cannabis in

                anticipation of the legal recreational cannabis posed a material risk to

                Canopy’s business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the


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                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate level of

                 inventory and market demand for dry cannabis;

             (c) Omitted disclosing that Canopy’s storage vaults already held more dry

                 flower inventory than Canopy could ever hope to sell before the product

                 expired;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         252.    During the November 14, 2019 Earnings Call, referring to dry cannabis, an

  analyst pointedly asked, “Do you think you're going to have to start to write off inventory

  anyway?” Defendant Kovacevic denied that Canopy would need to write off inventory,

  replying, “we see 4 months to 5 months inventory as the ideal length of period for dry

  flower to make sure we have continuity of availability” and “we feel very happy with our

  inventory level today and that they’re setting us up for success.”

         253.    A second analyst, referring to Canopy’s inflated inventory levels, asked

  whether, if stores in Ontario were not opened quickly, “do you have to like slow down

  your production? Do you have to shut down some facilities?” Defendant Zekulin evaded

  the question, responding, “We're waiting for stores, we cannot—to your point, if Ontario

  doesn't open stores for another year, we all have a problem. I don't think we can wait, you

  try to look that, but there is no reason to expect that will happen.”



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         254.   The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

            (a) Failed to disclose that the Company had built up so much inventory of dry

                flower that it could never hope to sell it all and would have to write off a

                significant amount of the product that it could not sell;

            (b) Having admitted during the same call that the Company had “reviewed all

                remaining inventories for both product on hand as well as product in the

                provinces to determine which product would be returned, which product

                would remain with the provinces and be subject to buy downs, and which

                product would be unaffected,” Canopy was required to evaluate its entire

                inventory for impairment, and should have impaired its inventory in

                November of 2019, and not six months later in May of 2020, because

                Canopy used dry cannabis to make its oils and gelcaps, and because

                Canopy knew that its earlier assessment of the cannabis market was wrong.

                Telling the market that the inventory problems were over and assuring

                analysts that inventory levels were not materially inflated was false.

         255.   On February 14, 2020, Canopy filed with the SEC its Condensed Interim

  Consolidated Financial Statements for the three and nine months ended December 31,

  2019 and 2018 (in Canadian dollars). The Balance Sheet in the Financial Statements lists

  “Inventory” as an asset valued at an astonishing $622,575,000 as of June 30, 2019,

  compared to $262,105,000 as of March 31, 2019. Note 7 to the Financial Statements,

  “Inventory,” lists total inventory of $622,575,000, consisting in part of $78,193,000 of

  finished goods and an astonishing $472,215,000 in work-in-process. The value of the

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  work-in-process inventory, alone, was $10 million more than the value of Canopy’s entire

  inventory as of September 30, 2019 combined. Moreover, Canopy’s $622,575,000 in

  inventory was nearly as much as five of its main competitors—Aurora Cannabis Inc.,

  Aphria Inc., Tilray, Inc., OrganiGram Holdings Inc., and Cronos Group Inc.—combined.

  Despite the size of its inventory, Canopy chose not to provide any further breakdown of its

  inventory, including a breakdown of inventory by dry flower, oils, and gelcaps.

         256.    The foregoing financial statements were materially false and/or misleading

  because Defendants knowingly or recklessly:

             (a) Materially overstated the value of their inventory because Defendants

                 failed adequately to reserve for obsolescence and expiration despite being

                 aware of indicators of over-supply of dry cannabis;

             (b) Materially overstated their inventory because Canopy had “no data” to use

                 in deciding to scale up inventory or to understand the market demand for

                 those products;

             (c) Materially overstated the value of the dry flower inventory because

                 Defendants knew that Canopy’s storage vaults already held more dry

                 flower inventory than Canopy could ever hope to sell before the product

                 expired;

             (d) In violation of IAS 2, failed to adequately evaluate the net realizable value

                 of inventory of dry cannabis and impair the inventory. Defendants knew

                 that sales of dry cannabis was stagnant, and that they had just taken large

                 restructuring charges in the prior two quarters. These were indicators


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                 requiring Canopy to evaluate the net realizable value of its large inventory

                 of dry cannabis, and to impair the value of that inventory because Canopy

                 used dry cannabis to make its oils and gelcaps and because Canopy knew

                 that its earlier assessment of the cannabis market was wrong.

             (e) In violation of IAS 2, failed to state that having “no data” upon which to

                 base its decision to “scale inventory” or to determine “management’s

                 expectation of market demands” was a material constraint on Canopy’s

                 ability to accurately understand the appropriate level of inventory of dry

                 cannabis and the market demand for those products;

             (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         257.    On February 14, 2020, Canopy filed its Management’s Discussion and

  Analysis of Financial Condition and Results of Operation for the three and nine months

  ended December 31, 2019. The MD&A contains a “Risks and Uncertainties” section

  containing one paragraph of risks. The section also refers investors to the “Risk Factors”

  section in Canopy’s Annual Information Form filed in conjunction with its stock sold on

  the Toronto Stock Exchange. Even though the Company had just taken large restructuring

  charges and impairments over the prior two quarters, the cited risk sections contain no risk

  factors cautioning about inventory buildup. Indeed, the word “inventory” does not appear

  in the Risk Factor section.

         258.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

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            (a) Omitted disclosing that the decision to scale inventory of dry cannabis in

                anticipation of the legal recreational cannabis posed a material risk to

                Canopy’s business, financial condition and results of operations;

            (b) Omitted disclosing that Canopy’s storage vaults already held more dry

                flower inventory than Canopy could ever hope to sell before the product

                expired;

            (c) Omitted disclosing that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that the lack of data could and did act as a

                constraint on their ability to accurately understand the appropriate level of

                inventory of dry cannabis, and the market demand for those products;

            (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         259.   On February 14, 2020, Canopy filed its Management’s Discussion and

  Analysis of Financial Condition and Results of Operation for the three and nine months

  ended December 31, 2019. The MD&A stated that:


                 As detailed in our MD&A for the second quarter of fiscal
                2020, we recorded charges associated with excess
                recreational cannabis inventory, primarily related to oils and
                softgels, in the amount of $17 [million], our gross margin
                was impacted by $9 [million] related to returns and pricing
                adjustments, and we recorded other adjustments related to
                the net realizable value of inventory. These charges did not
                recur to the same extent in the third quarter of fiscal 2020.

         260.   The foregoing statement was materially false and/or misleading because

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  Defendants knowingly or recklessly:

             (a) Omitted to state that the charges associated with excess dry cannabis

                 inventory had recurred and far exceeded the charges for excess inventory

                 taken the prior quarter;

             (b) Omitted to state that the Company needed to take additional charges

                 associated with excess dry cannabis inventory, but was not doing so despite

                 being aware of indicators of over-supply of dry cannabis;

             (c) Omitted to state that Canopy’s storage vaults already held more dry flower

                 inventory than Canopy could ever hope to sell before the product expired;

         261.    During the February 14, 2020 Call, Canopy admitted that it was in the

  process of an internal review and had “begun taking steps designed to bring our inventory

  in balance with our supply demand understand.” Defendant Lee, however, minimized the

  extent that the Company’s inventory was out of “balance,” i.e., grossly inflated and

  overvalued, stating that, “but balance of the inventory is really our bud inventory [i.e., dry

  flower] and we feel very good that we're balanced on high THC bud. We feel very good

  that we're balanced on low THC, high CBD bud. The mainstream bud which is the balance

  is what we call it. We're a little longer than what we’d like to be today. And that's the

  piece that we're continuing to work through.”

         262.    The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

             (a) Failed to disclose that the Company would have to abandon 40% of its

                 growing space because it had built up so much inventory of dry flower that


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              it could never sell it and would have to write off that product, and had

              acquired more growing space than it could ever need to meet demand for

              its products;

           (b) Failed to disclose that far from its inventory being “a little long[],” the

              Company’s dry cannabis inventory of was so inflated that the Company

              would need to write off tens of millions of dollars of inventory in the

              following quarter;

           (c) Failed to disclose that Canopy’s storage vaults already held more dry

              flower inventory than Canopy could ever hope to sell before the product

              expired;

           (d) Having admitted on an earnings call during the prior quarter that the

              Company had “reviewed all remaining inventories for both product on

              hand as well as product in the provinces to determine which product would

              be returned, which product would remain with the provinces and be subject

              to buy downs, and which product would be unaffected,” Canopy was

              required to evaluate its entire inventory for impairment the prior quarter

              and should have impaired its inventory in February of 2020, and not three

              months later in May of 2020. Minimizing the extent of the inventory and

              assuring analysts that inventory levels were not materially inflated was

              false.




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     C. Defendants’ False and Misleading Statements Concerning Its Production
        Facilities

         263.    On June 28, 2018, Canopy filed with the SEC its 2018 AIF as an exhibit to

  its 2018 40-F. The 2018 AIF has a section entitled “Risk Factors” that is 16 pages long.

  The Risk Factor section contains no risk factors cautioning about the Company’s

  expansion of its grow facilities. Instead, the Company merely advised investors that:

                 The Company’s growth strategy contemplates outfitting its
                 facilities with additional production resources. A variety of
                 factors could cause these activities to not be achieved on
                 time, on budget, or at all. As a result, there is a risk that the
                 Company may not have product or sufficient product
                 available to meet the anticipated demand or to meet future
                 demand when it arises.
         264.    The foregoing “Risk Factor” section, and individual risk factor, were

  materially false and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to expand its facilities in anticipation

                 of the legal recreational cannabis market posed a material risk to Canopy’s

                 business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate amount

                 of grow facilities it needed to operate.

             (c) Omitted disclosing that if the Company was unable to sell material portions

                 of the cannabis grown at any, some, or all of its facilities, the Company

                 would need to abandon that facility, which posed a material risk to



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                Canopy’s business, financial condition and results of operations;

             (d) Omitted disclosing that the decision to scale inventory of oils and gelcaps

                was made, as Defendants knew, because of Canopy’s failure to produce

                “bud” grade cannabis at its production facilities, and that the only use for

                the low-quality cannabis was extraction to produce oils and gelcaps;

             (e) Omitted disclosing that Canopy’s storage vaults already held more

                inventory than Canopy could ever hope to sell before the product expired;

             (f) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

         265.   The August 15 MD&A contains a “Risks and Uncertainties” section

  containing two pages of risks. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The Risk Factor section contains no risk factors

  cautioning about the Company’s expansion of its grow facilities. Instead, the Risk Factors

  merely disclosed that “The Company is reliant on a small number of facilities.”

         266.   The foregoing “Risk Factor” section, and individual risk factor, were

  materially false and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to expand its facilities in anticipation

                of the legal recreational cannabis posed a material risk to Canopy’s

                business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

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                of market demands,” and that the lack of data could and did act as a

                constraint on their ability to accurately understand the appropriate amount

                of grow facilities it needed to operate;

             (c) Omitted disclosing that Canopy’s storage vaults already held more

                inventory than Canopy could ever hope to sell before the product expired;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                that the reason for “scaling” inventory “wasn't strictly for the purpose of

                obtaining market share,” but for “getting our brands out there.”

             (e) Omitted disclosing that if the Company was unable to sell the cannabis

                grown at any, some, or all of its facilities, the Company would need to

                abandon that facility, which posed a material risk to Canopy’s business,

                financial condition and results of operations.

         267.   The November 15 MD&A contains a “Risks and Uncertainties” section

  containing three pages of risks. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The Risk Factor section contains no risk factors

  cautioning about the Company’s expansion of its grow facilities. Instead, the Risk Factors

  merely disclosed that “The Company is reliant on a small number of facilities.”

         268.   The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to expand its facilities in anticipation

                of the legal recreational cannabis posed a material risk to Canopy’s

                business, financial condition and results of operations;


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             (b) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate amount

                 of grow facilities it needed to operate;

             (c) Omitted disclosing that Canopy’s storage vaults already held more

                 inventory than Canopy could ever hope to sell before the product expired;

             (d) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

             (e) Omitted disclosing that if the Company was unable to sell the cannabis

                 grown at any, some, or all of its facilities, the Company would need to

                 abandon that facility, which posed a material risk to Canopy’s business,

                 financial condition and results of operations.

         269.    The February 15, 2019 MD&A contains a “Risks and Uncertainties”

  section containing two pages of risks. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The Risk Factor section contains no risk factors

  cautioning about the Company’s expansion of its grow facilities. Instead, the Risk Factors

  merely disclosed that “The Company is reliant on a small number of facilities.”

         270.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to expand its facilities in anticipation


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                 of the legal recreational cannabis posed a material risk to Canopy’s

                 business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate amount

                 of grow facilities it needed to operate.

             (c) Omitted disclosing that Canopy’s storage vaults already held more

                 inventory than Canopy could ever hope to sell before the product expired;

             (d) Omitted disclosing that if the Company was unable to sell the cannabis

                 grown at any, some, or all of its facilities, the Company would need to

                 abandon that facility, which posed a material risk to Canopy’s business,

                 financial condition and results of operations;

             (e) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         271.    During the February 15, 2019 Call, Defendant Linton downplayed any risk

  from Canopy’s expanded grow facilities, which now totaled 4.3 million square

  feet. Defendant Linton assured an analyst that “this is not a stockpiling exercise at all, and

  we're constantly looking at as the provinces are turning up more stores, we need to fill that

  warehouse.”

         272.    The foregoing statement was materially false and/or misleading because


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  Defendants knowingly or recklessly:

             (a) told investors that Canopy’s needed all of its facility space to meet current

                 demand, when in fact Defendants knew they were producing substantially

                 more cannabis than could ever be sold, and far more than was necessary to

                 meet the current demand;

             (b) failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory and expanding production “wasn't

                 strictly for the purpose of obtaining market share,” but for “getting our

                 brands out there.”

             (c) omitted disclosing to investors that Defendants’ had no data on which to

                 base the facilities expansion or the rapid growth in inventory, and certainly

                 were in fact “stockpiling” inventory;

             (d) Omitted disclosing that Canopy’s storage vaults already held more

                 inventory than Canopy could ever hope to sell before the product expired.

         273.    On June 26, 2019, the same date that Defendants Linton and Zekulin made

  millions of dollars of profit selling Canopy shares on the Canadian exchange, Canopy

  filed with the SEC its Annual Information Form for the Period Ended March 31, 2019

  (“2019 AIF”), as an exhibit to its 2019 40-F. The 2019 AIF has a section entitled “Risk

  Factors” that is 24 pages long. The Risk Factor section contains no risk factors cautioning

  about the Company’s expansion of its grow facilities. Instead, the Risk Factors disclosed

  the following risks associated with facilities unrelated to overexpansion or excess

  inventory that cannot be sold:


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                Adverse changes or developments affecting any facility, including
                but not limited to a breach of security, could have a material and
                adverse effect on the Company’s business, financial condition and
                prospects. Any breach of the security measures and other facility
                requirements, including any failure to comply with
                recommendations or requirements arising from inspections by
                government regulators, could also have an impact on the
                Company’s ability to continue operating under its licences or the
                prospect of renewing its licences.

         274.   The foregoing “Risk Factor” section was materially false and/or misleading

  because Defendants knowingly or recklessly:

            (a) Omitted disclosing that the decision to expand its facilities in anticipation

                of the legal recreational cannabis posed a material risk to Canopy’s

                business, financial condition and results of operations;

            (b) Omitted disclosing that Defendants had “no data” on which to base the

                decision to “scale inventory” or to determine “management’s expectation

                of market demands,” and that the lack of data could and did act as a

                constraint on their ability to accurately understand the appropriate amount

                of grow facilities it needed to operate.

            (c) Omitted disclosing that if the Company was unable to sell the cannabis

                grown at any, some, or all of its facilities, the Company would need to

                abandon that facility, which posed a material risk to Canopy’s business,

                financial condition and results of operations;

            (d) Omitted disclosing that Canopy’s storage vaults already held more

                inventory than Canopy could ever hope to sell before the product expired;

            (e) Failed to disclose, as Defendants admitted at the end of the Class Period,



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                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         275.    On August 14, 2019, Canopy filed its Management’s Discussion and

  Analysis of Financial Condition and Results of Operation for the three months ended June

  30, 2019. The MD&A contains a “Risks and Uncertainties” section containing one

  paragraph of risks. The section also incorporates by reference the “Risk Factors” section

  of the 2018 AIF. The Risk Factor section contains no risk factors cautioning about the

  Company’s expansion of its grow facilities. Instead, the Risk Factors merely disclosed that

  the Company’s “reliance on facilities” presented a risk.

         276.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to expand its facilities in anticipation

                 of the legal recreational cannabis posed a material risk to Canopy’s

                 business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate amount

                 of grow facilities it needed to operate.

             (c) Omitted disclosing that Canopy’s storage vaults already held more

                 inventory than Canopy could ever hope to sell before the product expired;

             (d) Omitted disclosing that if the Company was unable to sell the cannabis


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                 grown at any, some, or all of its facilities, the Company would need to

                 abandon that facility, which posed a material risk to Canopy’s business,

                 financial condition and results of operations;

             (e) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         277.    During the November 14, 2019 Earnings Call, an analyst who noted the

  Company’s high inventory levels pointedly asked whether if stores in Ontario did not open

  more quickly, “do you have to like slow down your production? Do you have to shut

  down some facilities?” Defendant Zekulin evaded the question, responding, “We're

  waiting for stores, we cannot—to your point, if Ontario doesn't open stores for another

  year, we all have a problem. I don't think we can wait, you try to look that, but there is no

  reason to expect that will happen.”

         278.    The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

             (a) omitted to disclose that the Company’s excessive inventory meant that the

                 Company would have to close grow facilities, and take impairments that

                 would materially affect the Company’s financial condition;

             (b) Omitted disclosing that Canopy’s storage vaults already held more

                 inventory than Canopy could ever hope to sell before the product expired.

         279.    On February 14, 2020, Canopy filed its Management’s Discussion and

  Analysis of Financial Condition and Results of Operation for the three and nine months


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  ended December 31, 2019. The MD&A contains a “Risks and Uncertainties” section

  containing one paragraph of risks. The section also refers investors to the “Risk Factors”

  section in Canopy’s Annual Information Form filed in conjunction with its stock sold on

  the Toronto Stock Exchange. The section also incorporates by reference the “Risk

  Factors” section of the 2018 AIF. The Risk Factor section contains no risk factors

  cautioning about the Company’s expansion of its grow facilities. Instead, the Risk Factors

  merely disclosed that the Company’s “reliance on facilities” presented a risk.

         280.    The foregoing “Risks and Uncertainties” section was materially false

  and/or misleading because Defendants knowingly or recklessly:

             (a) Omitted disclosing that the decision to expand its facilities in anticipation

                 of the legal recreational cannabis posed a material risk to Canopy’s

                 business, financial condition and results of operations;

             (b) Omitted disclosing that Defendants had “no data” on which to base the

                 decision to “scale inventory” or to determine “management’s expectation

                 of market demands,” and that the lack of data could and did act as a

                 constraint on their ability to accurately understand the appropriate amount

                 of grow facilities Canopy needed to operate;

             (c) Omitted disclosing that Canopy’s storage vaults already held more

                 inventory than Canopy could ever hope to sell before the product expired;

             (d) Omitted disclosing that if the Company was unable to sell the cannabis

                 grown at any, some, or all of its facilities, the Company would need to

                 abandon that facility, which posed a material risk to Canopy’s business,


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                 financial condition and results of operations;

              (e) Failed to disclose, as Defendants admitted at the end of the Class Period,

                 that the reason for “scaling” inventory “wasn't strictly for the purpose of

                 obtaining market share,” but for “getting our brands out there.”

         281.    During the February 14, 2020 Call, Defendant Lee said, “Gross margin in

  the quarter benefited from higher capacity utilization which is a trend that we've seen

  over the past few quarters. Operating costs related to underutilized facilities has continued

  to decrease from approximately CAD24 million in the fourth quarter of fiscal '19 to under

  CAD8 million in the third.” This prompted an analyst to ask, “you mentioned that there

  was higher capacity utilization in the quarter. When I look at the kilograms harvested

  figure if my numbers are correct it was around 29,000 kilograms this quarter and in the

  previous quarter it was 40,000 kilograms. So that number coming down. Just wanted to

  square that away with the higher capacity utilization.” Responding, Defendant Lee

  admitted that “During December, we did take down some capacity at our Delta facility

  and British Columbia is one of our first steps to help bring supply and demand into

  balance.”

         282.    The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

              (a) Omitted disclosing that the Company’s excessive inventory meant that the

                 Company would have to close grow facilities and take impairments that

                 would materially affect the Company’s financial condition;

              (b) Omitted disclosing that Canopy’s storage vaults already held more


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                 inventory than Canopy could ever hope to sell before the product expired.

         283.    During the February 14, 2020 Call, an analyst asked, “You mentioned that

  managing inventory relative to demand was a key focus, and you're reviewing your

  footprint. Clearly that could imply shutting down some production capacity, and I just

  wonder . . . what could that mean to near-term margins even if positive for the long-term.”

  Lee responded by assuring investors that shutting down facilities was the last thing the

  Company was inclined to do, saying, “shutting down facilities is really hard. So, we need

  to be very thoughtful about it, very mindful about it, and we're taking a strategic approach

  to say, “Look, we want to make sure that we're designing our supply chain and our

  footprint for not just the realities of today, but the realities of the next year, two years,

  three years, as the size of the market develops, but also as the various categories of the

  market develops, and we know that the value category is here to stay.’”

         284.    The foregoing statements were materially false and/or misleading because

  Defendants knowingly or recklessly:

             (a) Omitted disclosing that the Company’s excessive inventory meant that the

                 Company would have to disclose grow facilities and take impairments that

                 would materially affect the Company’s financial condition;

             (b) Omitted disclosing that Canopy’s storage vaults already held more

                 inventory than Canopy could ever hope to sell before the product expired;

  VI.    THE TRUTH EMERGES

         285.    On July 2, 2019, barely a week after the Company reported its fiscal year

  2019 financial results and six days after Defendants Linton and Zekulin made tens of

  millions of dollars of profit selling Canopy shares on the Canadian exchange, as the

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  Company was considering how to disclose its over-valued oils and gelcaps inventory,

  Canopy abruptly fired co-CEO and company founder Bruce Linton.

         286.    On August 14, 2019, after the market close, Canopy issued a press release

  entitled Canopy Growth drives revenue with 94% increase in recreational dry cannabis

  sales in first quarter of fiscal 2020. After a full year of telling investors that its inventory

  buildup was necessary and that its cannabis products would sell through to the end user,

  the Company delivered harsh news. Canopy wrote that after evaluating failing sales of oils

  and gelcaps:

                 As a result of this evaluation, we believe that the risk of an
                 over-supply of certain oil and softgel formats may exist in
                 certain markets due, in part, to incomplete retail platforms
                 in most provinces. Based on this assessment, we have
                 estimated variable consideration that may result from
                 rights of return in the amount of $8 million dollars in
                 gross revenue, which corresponds to estimated future
                 returns of $6.4 million, net of excise tax, and the estimated
                 return amount has been reflected in net revenue.

         287.    On this news, on August 15, 2019, Canopy’s share price fell over 14%,

  from $31.93 to $27.34, on volume more than twice as high as the day previous.

         288.    Canopy had never previously informed its investors that any of its supply

  contracts with provinces contained rights of return, much less disclose that it anticipated

  returns of millions of dollars in product, and analysts were surprised. Desjardins Analyst

  John Chu lowered his target stock price for Canopy, writing that “[t]he significant drop in

  oil and gelcap sales in 1Q remains a headscratcher. Furthermore, the sales provision of

  C$8m on oil and gelcap products adds more mystery to the state of Canopy’s oil and

  gelcap products.”

         289.    Canopy blamed the $8 million revenue charge for returns of oils and



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  gelcaps on “incomplete retail platforms,” even though it knew a year earlier, in August

  2018, that no retail stores would open in Ontario until April of 2019, and had stated in

  May of 2018 that recreational sales during the first two years after legalization would

  mostly come from online sales. From June 2017 onward, however, Canopy and the

  Individual Defendants repeatedly told investors that inventory was being “scaled to meet

  management’s expectations of market demands” for stores.

         290.   During the August 15, 2019 Call, analysts directly challenged the Company

  about the oils and gelcaps revenue reversal. Canopy sought to repeatedly reassure that the

  $8 million in returns of oils and gelcaps was a “one-time event,” revealing aspects of

  Canopy’s contracts with provinces/distributors that investors knew nothing about

  previously:

                Analyst Graeme Kreindler

                Okay. Thank you. And just to follow-up. With respect to the
                eight million charge against sales. Is that a one-time event
                or is that something we could expect to have coming in
                future quarters here? Thanks.

                CFO Mike Lee

                Yes, Mike here. So it is normal for [] companies that have
                an ongoing revenue provision for estimated ongoing returns,
                I would remind you that the supply agreements with the
                provinces allow for returns at any point in the future. But I
                would say that now that this is established, and we have
                processes in place, where the information from the
                wholesale level inventories is now becoming more available
                more frequently. I would say that this is something that I
                wouldn’t expect to move the P&L in the future.
         291.   This marked the first time that the Company told the market that its

  contracts with customers had nearly absolute rights of return provisions, and specifically

  that those customers had the right to return any purchased product at any point in the


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  future.

            292.   Responding to another analyst inquiry, Defendant Kovacevic assured that

  the returns affecting revenue were not “a cause [for] concern going forward.”

            293.   Skeptical analysts continued pressing Defendants about the oil and gelcaps

  returns, with the Company admitting that there was limited demand for the enormous

  inventory of oils and gelcaps, while attempting to downplay those products’ importance to

  Canopy:

                   Analyst Matt Bottomley

                   Yes, thanks for taking the question. I just wanted to go back
                   to the sales mix, particular on the recreational side of things.
                   Can you just give us a little more color as to why the oil
                   and gel caps of this quarter went essentially to zero. I think
                   you were in 30 million or 35 million last quarter. Was that
                   a decision in terms of allocation or was there any issues with
                   production in getting those types of products out the door. It
                   didn't seem to be a problem on the medical side.

                   CEO Mark Zekulin

                   Yes, thanks Matt. No it is not related to our production
                   flow here, simply related to the product mix that we see
                   demand for and ensuring that we allocate products
                   appropriately to that mix. So certainly, as you say, our oils
                   and softgel products remain exceptionally popular and an
                   increasing share of our Canadian medical base and an
                   increasing share of our global exports to medical market. So
                   I think it is just an indication of properly seating the
                   market with what customers are buying at the tail.

                                                ****

                   Analyst Douglas Miehm

                   Yes. I just want to circle back to pricing issue with respect
                   to product that was returned. Correct me if I'm wrong. But
                   I think a majority was gel caps and in the event we move
                   ahead over the next sort of while and you have a little bit


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                 more share gel caps. But it appears that these four products
                 that were having difficulty being sold, but you can correct
                 me if I'm wrong. Why would you expect margins to jump
                 back so dramatically to previous levels, when those levels
                 of gel caps and oils were probably too high to begin with?

                 CEO Mark Zekulin

                 Yes. Thank you. I think, so just to clarify it is not that -
                 there actually have been return, provision reflects our
                 assessment of the overall inventory levels versus rate of
                 sale and precautionary step to account for that now,
                 because we think it will – it has a probability of coming in
                 the future. So it is not that they have actually been return
                 yet.

                 So I think speaking probably more importantly to your point
                 about the rate of confidence. Even in, let's say, the most
                 ambitious product mix understand for the existing SKUs,
                 Flower and pre-roll joints on the one hand and oils and
                 softgels. Oils and softgels were always going to be a
                 smaller part of that mix.

         294.    While Defendants may have hoped that their oils and gelcaps problem

  would magically disappear, their words show that their statements assuring analysts that

  the revenue reversal was a one-time event were false. The “risk of an over-supply of

  certain oil and softgel formats [] in certain markets” and the statement that there was low

  demand for oils and gelcaps (the revenue reversal was “related to the product mix that we

  see demand for”) are indicators that Canopy knowingly or recklessly failed to evaluate its

  oils and gelcaps inventory for impairment, and should have impaired inventory no later

  than August of 2019, rather than three months later in November of 2019. Canopy instead

  told the market that the returns issue had nothing to do with inventory (“No it is not

  related to our production flow here, simply related to the product mix that we see demand

  for”). Defendants’ statements were, at a minimum, reckless.



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         295.    Further, Defendants knew by June 2018, at the latest, that the failure to

  produce “bud” grade cannabis at Canopy’s production facilities meant that the low-quality

  cannabis could only be used to produce oils and gelcaps. The decision to build the

  inventory of oils and gelcaps was divorced from any consideration of perceived market

  demand.

         296.    Despite Canopy’s assurances in August that low demand for oils and

  gelcaps would not affect future Profit & Loss Schedules, and was not a “cause for concern

  going forward,” the next time Canopy spoke to the market, the news about the demand for

  oils and gelcaps was catastrophic.

         297.    On November 14, 2019, before the market opened, Canopy issued a press

  release announcing earnings for the second quarter of FY 2020, posting a larger-than-

  expected loss for the quarter, and announcing revenue lower than any analyst’s estimate.

  The press release announced that Canopy would be modifying its retail pricing

  architecture, i.e., giving price concessions, and taking a $32.7 million restructuring

  charge. The press release stated, in relevant part:

                 As part of a management-initiated portfolio review, the
                 Company has taken a restructuring charge of $32.7
                 million for returns, return provisions, and pricing
                 allowances primarily related to its softgel & oil portfolio.
                 Additionally, management has recorded an inventory
                 charge of $15.9 million to align the portfolio with the new
                 strategy. This new strategy includes new retail pricing
                 architecture, a rationalized package assortment, and a
                 focused marketing/educational strategy to further develop
                 this category. The Q2 2020 gross margin impact of the
                 portfolio restructuring costs is $40.4 million. With this acute
                 restructuring charge, management believes that current
                 inventory levels both internally and externally are in-line
                 with demand understands.



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         298.    The press release quoted Defendant Zekulin stating that "We took the

  necessary steps to address inventory levels on our oils and softgels.”

         299.    In the November 14, 2019 MD&A, Defendants admitted that their

  expectations for oils and gelcaps sales, and thus their inventory buildup, had been wrong,

  again blaming undeveloped retail markets in Ontario, even as they always knew that

  Ontario would not allow any retail stores before April 1, 2019:

                 In the second quarter of fiscal 2020, [our] evaluation
                 indicated that the risk of over-supply of certain oil and
                 softgel formats existed in certain markets due, in part, to
                 underdeveloped retail markets in several provinces. Since
                 identifying the oversupply risk, we have implemented new
                 pricing and retail customer education strategies in order to
                 improve the sell-through velocity of oils and softgel
                 products and we expect these activities to lead to an
                 appreciable reduction in provincial and territorial
                 inventories. However, based on this assessment, we have
                 determined returns and pricing adjustments related
                 primarily to the risk of over-supply of certain oil and
                 softgel products in the amount of $32,727,[000], and this
                 amount has been reflected in revenue.

                 As overall demand for oils and softgels in the recreational
                 cannabis market has not met our initial understands and
                 expectations at the time of launch, in an effort to balance
                 supply and demand in the recreational cannabis retail
                 channel we have reduced the production of certain of our
                 recreational cannabis oil and softgel products in the second
                 quarter of fiscal 2020.

                 ***
                 We have assessed current and understanded "sell-in" rates
                 of certain oils and softgel products and concluded a risk
                 exists that a portion of our inventory of certain
                 recreational oil and softgel products may not be sold
                 within a reasonable timeframe.
         300.    That same day, November 14, 2019, in Canopy’s Condensed Interim

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  and 2018, the Company stated that part of the oils and gelcaps inventory written off was

  “excess and obsolete.”

         301.    During the November 14, 2019 Call, in scripted remarks, Defendants

  explained the revenue reversals and inventory write-down related to oils and gelcaps with

  euphemisms such as “rightsize” to describe inventory levels and the “disconnect” between

  inventory and demand to explain their unjustified increase in inventory:

                 Mark Zekulin
                 We have witnessed a slowdown by provincial buyers and
                 the recreational channel as they rightsize their own
                 inventory levels after significant inventory accumulation.
                 Mike Lee
                 You may recall that in Q1, we evaluated what was at that
                 point, the most recent provincial and territorial inventory
                 levels related to sales observed in the rec channel and we
                 concluded that our risk of oversupply of certain oils and
                 softgels existed in certain markets due to underdeveloped
                 retail markets in several provinces.
                 Based on that assessment, we reported in our Q1 results
                 variable consideration that may result from rates of return
                 in the amount of $8 million of gross revenue. And in Q2,
                 we continued to see a disconnect between inventory levels
                 and the rate of sale for certain products in the market.
                 ***
                 And following the shift in this strategy, we reviewed all
                 remaining inventories for both product on hand as well as
                 product in the provinces to determine which product would
                 be returned, which product would remain with the promises
                 and be subject to buy downs and which product would be
                 unaffected. And the result of this evaluation is $32.7
                 million in revenue provisions broken down into three
                 categories of charges: Number one, pricing actions that
                 are required to establish this new pricing architecture.
                 Number two, returns from provinces for discontinued or
                 slow-moving product. And number three, inventory
                 impairments for excess or obsolete on hand inventories.

                 ***

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                Moving on to number two returns. To date we have taken
                actual returns of $20.5 million from the provinces and we
                expect another $6.4 million to be returned in coming
                weeks for a total of $26.9 million in product returns. And
                also note that these charges are netted against the $8
                million provision from Q1 leaving a net charge of $18.9
                million for the quarter.

                Moving on to number three. Inventory provisions. With the
                new retail pricing set within our own retail stores we used
                the new sales velocities that we're experiencing as well as
                those seen within markets where we have already
                implemented pricing to determine our expected days of
                supply once this new pricing flows through to broad retail.
                And we also use our latest projections on store opening to
                help calculate our forward-looking demand. And in doing
                this we identified $15.9 million25 of products that have
                been due to excess or obsolete and this charge has been
                recorded in cost of sales.

                ***
                With these charges recorded, there is now less than $10
                million of oils and softgels in Canopy's inventory on
                hand. And there's approximately $2 million of inventory
                across Alberta and Ontario provinces. So we believe this
                issue is fully behind us.
         302.   Angry    analysts   eschewed      euphemisms,   aggressively    questioning

  Defendants, who disclosed the amount of the pricing allowances for oils and gelcaps:

                Analyst Tamy Chen

                Okay, thanks. And second question is. Mike, so I just
                wanted to confirm when you talked about the new pricing
                architecture was that specifically or only to the oil fuse in
                the rec market? Or does that pertain to flower too?
                Because what I'm getting at here is I noticed by my math
                your average net selling price net for rec on flower still is
                higher than some of the other peers that we've seen. And I'm
                just wondering, could there be potential downside there

  25
     In Canopy’s February 15, 2020 Management’s Discussion and Analysis of the
  Financial Condition and Results of Operations for the three and nine months ended
  December 31, 2019, Defendants stated that the $15.9 million inventory write-off had
  been adjusted to $17 million.

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                 because we are seeing a number of LPs becoming more
                 aggressive on flower pricing in the rec market?

                 CFO Mike Lee

                 The pricing architecture changes that we talk about for
                 softgels and oils does pertain to softgels and oils across
                 Canada. And I would think about it as a 5% to 7% price
                 reduction on average depending on the provinces, there's
                 some variation across the provinces. But I think 5% to 7%
                 would be a good proxy of the architecture changes that
                 we're making.

         303.    Pushed by analysts, Defendants finally revealed the truth, that they had “no

  data” to justify the exponential inventory increase for oils and gelcaps:

                 Analyst Andrew Carter

                 Hi thanks. Good morning. I think part of the issue in the first
                 wave which kind of manifested this quarter's results has
                 been really a lack of stability into the market just new and
                 evolving. So, I kind of wanted to first start give a sense of
                 where you think your capabilities are now versus throughout
                 kind of the first way into kind of making adjustments and
                 understanding that? And then also kind of how much is left
                 your customers both provincials and retail. And then
                 regarding kind of your visibility I think what is does your
                 ability to make changes in the second wave increased
                 significantly now so that you can kind of respond to
                 customer demands more quickly?

                 President Rade Kovacevic

                 Yes. So, Rade here. So, I think several points on it. I think
                 firstly, last year at the rollout of legalization, we had little
                 to no data. We are looking at what U.S. markets had done
                 but we had nothing within the Canadian regulatory
                 context for recreational legalization while making
                 production decisions. And so we looked at things such as
                 soft gels and oil understanded them to be 15% of the
                 market and kind of be around 5%.

                 I think the big change that we've had over the last 12
                 months is we now have data, right? It took about four to
                 eight months for us to start gaining provincial asset till

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                 data. So, rather than simply the B2B sales, we're seeing
                 what it's selling through the customers so that we could
                 change our product portfolio and our mix and SKU
                 rationalize to make sure we had the right SKUs in place that
                 we're having pull-through and be able to have that
                 continuous supply to build customer fairly.
         304.    Defendants failed, however, to tell analysts that they knew by June 2018, at

  the latest, that the failure to produce “bud” grade cannabis at Canopy’s production

  facilities meant that the low-quality cannabis could only be used to produce oils and

  gelcaps. The decision to build the inventory of oils and gelcaps was divorced from any

  consideration of perceived market demand.

         305.    Unimpressed, analysts punished the Company. Canaccord Genuity analyst

  Matt Bottomley lowered his recommendation from “Speculative Buy” to “Hold,” writing

  that [d]uring the quarter, Canopy recorded significant sales allowances/inventory write-

  downs that we believe represents a red flag for the company.” PI Financial analyst Jason

  Zandberg noted that the charges against revenue “were surprising given the Company took

  an $8.0M charge in the previous quarter.” MKM analyst Bill Kirk described the EBITDA

  loss of $155.7 million as “astounding,” and wrote that he did “not consider this type of

  adjustment to be one-time, as it reflects returns and new pricing architecture and package

  assortment going forward.”

         306.    On this news, on November 14, 2019, Canopy’s share price fell over 14%,

  from $18.50 to $15.84, on volume more than three times higher than the previous day.

         307.    During the February 14, 2020 Call, Defendant Klein finally acknowledged

  that although Canopy previously stated, repeatedly, that it had set its inventory growth

  strategy to align with market demand, it had not done so based upon data, stating that:



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                 My third priority is to define a very visible path to
                profitability and positive cash flow. This means we need to
                align our resources and investments with the size and growth
                rate of the market as it exists today. We've begun taking
                steps designed to bring our inventory in balance with our
                supply demand understand, this includes a thorough
                strategic review of our footprint which is underway.
         308.    By choosing not to state that Canopy’s “supply demand understand[ing]”

  was new or revised, Defendant Klein was acknowledging that although Canopy had

  previously assured investors that it was building inventory to match demand, the Company

  had, in fact, not done so. Defendant Klein reaffirmed this later in the call, acknowledging

  to an analyst that “as a company we've built inventory, but we need to get better at

  connecting the consumer demand signal to the inventory that we're building,” and that “we

  need to be able to bring down our total inventory balance.”

         309.    Further, Defendants failed to tell analysts that they knew by June 2018, at

  the latest, that the failure to produce “bud” grade cannabis at Canopy’s production

  facilities meant that the low-quality cannabis could only be used to produce oils and

  gelcaps. The decision to build the inventory of oils and gelcaps was divorced from any

  consideration of perceived market demand.

         310.    During the same February 14, 2020 Call, Defendant Lee expressly

  downplayed the extent to which Canopy’s inventory was out of balance with market

  demand, saying that, “but balance of the inventory is really our bud inventory [i.e., dry

  flower] and we feel very good that we're balanced on high THC bud. We feel very good

  that we're balanced on low THC, high CBD bud. The mainstream bud which is the balance

  is what we call it. We're a little longer than what we’d like to be today. And that's the

  piece that we're continuing to work through.”


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         311.    Analysts did not believe that Canopy was fully disclosing the extent of its

  problems. On February 19, 2020, MKM Partners analyst Bill Kirk highlighted just how

  bloated Canopy’s inventory actually was, and the negative connotations that had for

  Canopy’s financial prospects. Kirk observed that since the end of 2017, Canopy had

  grown 115,000 more kilograms of cannabis than it had sold. Since the entire annual

  Canadian market for cannabis at the time was 180,000 kilograms, at its current market

  share, Kirk highlighted that “[a]ssuming Canopy ceased all growing operations AND

  maintained current market share, it would take [approximately] 2.5 years to sell this

  product in Canada.” Kirk wrote that he “expect[s] large write-downs/destruction/price

  concessions” in the near future.

         312.    Two weeks later, on March 4, 2020, after the market closed, Canopy

  admitted that there were material problems with the size of its inventory, and that the

  inventory level was not aligned with market demand for its legal cannabis products. The

  Company announced that it was closing approximately 40% of its production space and

  that potentially hundreds of millions of dollars of its production space, and inventory, was

  worthless.

         313.    Defendant Klein, Canopy’s new CEO, could not hide the magnitude of the

  bad news, even as Canopy hid behind euphemisms like “production optimization plan.”

  Klein announced that Canopy was closing two of its cannabis grow facilities in British

  Columbia, Canada comprising approximately three million square feet of production

  space, firing 500 employees, and abandoning its plan to build a third greenhouse in

  Ontario. The closed production facilities reduced the Canopy’s production capacity in

  Canada by 40%. Finally, Defendant Klein announced that the Company was expecting to



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  record pre-tax charges of approximately $700-$800 million for the fourth quarter of fiscal

  2020, ending March 31, 2020. On this news, Canopy’s share price dropped over 5% on

  March 5, 2020, from $17.75 to $16.80.

         314.    A month later on April 16, 2020, the Company announced that it was

  closing still another grow facility in Yorkton, Saskatchewan, which offered 60,000 square

  feet of growing space, as well as withdrawing from various international markets.

         315.    Nearly three months later, on May 29, 2020, before the market opened, the

  worst news arrived. Canopy announced that it had recorded impairments and restructuring

  charges of $743 million. During an earnings conference call that same day, Defendants

  stated that the write-down was attributable to “fixed asset impairments of $563 million, of

  which $335 million was for property, plant and equipment, mostly tied to the cultivation

  assets, and $193 million was for impairment of intangible assets, mostly tied to our exit

  from various international markets. An additional $132 million was for inventory write-

  offs related to obsolete packaging, flower and biomass inventory,” i.e., cannabis that had

  been grown but was going to be thrown away. On this news, Canopy’s share price

  dropped over 20%.

         316.    During the May 29, 2020 Call, Defendants finally admitted that Canopy’s

  rapid inventory and facility growth were based on something other than a belief that they

  would be able to sell that inflated inventory. Defendant Klein stated that “there’s no

  denying that we overbuilt our facilities,” and that while the “dramatic[]” increase in

  inventory and facilities “was a great talking point,” it “came with great consequences.”

  Defendant Zekulin went further stating that “part of our effort to push product out early

  and obtain market share, wasn't strictly for the purpose of obtaining market share, it was



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  for getting our brands out there.”

         317.    Defendants never told investors the true reason for building up inventory of

  oils and gelcaps.

         318.    As a result of Defendants’ wrongful acts and omissions, and the precipitous

  decline in the market value of the Company’s common shares, Plaintiffs and other Class

  members have suffered significant losses and damages.

  VII.   PLAINTIFFS’ CLASS ACTION ALLEGATIONS

         319.    Plaintiffs brings this action as a class action pursuant to Federal Rule of

  Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than

  defendants who acquired Canopy securities publicly traded on NYSE during the Class

  Period, and who were damaged thereby (the “Class”). Excluded from the Class are

  Defendants, the officers and directors of Canopy, members of the Individual Defendants’

  immediate families and their legal representatives, heirs, successors or assigns and any

  entity in which Officer or Director Defendants have or had a controlling interest.

         320.    The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, Canopy securities were actively traded on

  NYSE. While the exact number of Class members is unknown to Plaintiffs at this time

  and can be ascertained only through appropriate discovery, Plaintiffs believe that there

  are hundreds, if not thousands, of members in the proposed Class.

         321.    Plaintiffs’ claims are typical of the claims of the members of the Class as

  all members of the Class are similarly affected by defendants’ wrongful conduct in

  violation of federal law that is complained of herein.




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          322.    Plaintiffs will fairly and adequately protect the interests of the members of

  the Class and have retained counsel competent and experienced in class and securities

  litigation. Plaintiffs have no interests antagonistic to or in conflict with those of the Class.

          323.    Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among

  the questions of law and fact common to the Class are:

                                 whether the Exchange Act was violated by Defendants’ acts

                  as alleged herein;

                                 whether statements made by Defendants to the investing

                  public during the Class Period misrepresented material facts about the

                  financial condition and business of Canopy;

                                 whether Defendants’ public statements to the investing

                  public during the Class Period omitted material facts necessary to make

                  the statements made, in light of the circumstances under which they were

                  made, not misleading;

                                 whether the Defendants caused Canopy to issue false and

                  misleading filings during the Class Period;

                                 whether Defendants acted knowingly or recklessly in

                  issuing false filings;

                                 whether the prices of Canopy securities during the Class

                  Period were artificially inflated because of the Defendants’ conduct

                  complained of herein; and




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                               whether the members of the Class have sustained damages

                 and, if so, what is the proper measure of damages.

         324.    A class action is superior to all other available methods for the fair and

  efficient adjudication of this controversy since joinder of all members is impracticable.

  Furthermore, as the damages suffered by individual Class members may be relatively

  small, the expense and burden of individual litigation make it impossible for members of

  the Class to individually redress the wrongs done to them. There will be no difficulty in

  the management of this action as a class action.

         325.    Plaintiff will rely, in part, upon the presumption of reliance established by

  the fraud-on-the-market doctrine in that:

                               Canopy shares met the requirements for listing, and were

                 listed and actively traded on the NYSE, an efficient market;

                               As a public issuer, Canopy filed periodic public reports;

                               Canopy regularly communicated with public investors via

                 established market communication mechanisms, including through the

                 regular dissemination of press releases via major newswire services and

                 through other wide-ranging public disclosures, such as communications

                 with the financial press and other similar reporting services;

                               Canopy’s securities were liquid and traded with moderate

                 to heavy volume during the Class Period; and

                               Canopy was followed by a number of securities analysts

                 employed by major brokerage firms who wrote reports that were widely

                 distributed and publicly available.


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          326.     Based on the foregoing, the market for Canopy securities promptly

  digested current information regarding Canopy from all publicly available sources and

  reflected such information in the prices of the shares, and Plaintiffs and the members of

  the Class are entitled to a presumption of reliance upon the integrity of the market.

          327.     Alternatively, Plaintiffs and the members of the Class are entitled to the

  presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the

  State of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material

  information in their Class Period statements in violation of a duty to disclose such

  information as detailed above.

                                                COUNT I

            For Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                    Promulgated Thereunder Against All Defendants


          328.     Plaintiffs repeat and realleges each and every allegation contained above

  as if fully set forth herein.

          329.     This Count is asserted against Defendants based upon Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

          330.     During the Class Period, Defendants, individually and in concert, directly

  or indirectly, disseminated or approved the false statements specified above, which they

  knew    or     deliberately     disregarded   were   misleading   in   that   they   contained

  misrepresentations and failed to disclose material facts necessary in order to make the

  statements made, in light of the circumstances under which they were made, not

  misleading.

          331.     Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

                                          employed devices, schemes and artifices to defraud;

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                                      made untrue statements of material facts or omitted

                        to state material facts necessary in order to make the statements

                        made, in light of the circumstances under which they were made,

                        not misleading; or

                                      engaged in acts, practices and a course of business

                        that operated as a fraud or deceit upon plaintiffs and others similarly

                        situated in connection with their purchases of Canopy securities

                        during the Class Period.

         332.    Defendants acted with scienter in that they knew that the public documents

  and statements issued or disseminated in the name of Canopy were materially false and

  misleading; knew that such statements or documents would be issued or disseminated to

  the investing public; and knowingly and substantially participated, or acquiesced in the

  issuance or dissemination of such statements or documents as primary violations of the

  securities laws. These defendants by virtue of their receipt of information reflecting the

  true facts of Canopy, their control over, and/or receipt and/or modification of Canopy’s

  allegedly materially misleading statements, and/or their associations with the Company

  which made them privy to confidential proprietary information concerning Canopy,

  participated in the fraudulent scheme alleged herein.

         333.    Individual Defendants, who are the senior officers and/or directors of the

  Company, had actual knowledge of the material omissions and/or the falsity of the

  material statements set forth above, and intended to deceive Plaintiffs and the other

  members of the Class, or, in the alternative, acted with reckless disregard for the truth

  when they failed to ascertain and disclose the true facts in the statements made by them or


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  other Canopy personnel to members of the investing public, including Plaintiffs and the

  Class.

           334.   As a result of the foregoing, the market price of Canopy securities was

  artificially inflated during the Class Period. In ignorance of the falsity of Defendants’

  statements, Plaintiffs and the other members of the Class relied on the statements

  described above and/or the integrity of the market price of Canopy securities during the

  Class Period in purchasing Canopy securities at prices that were artificially inflated as a

  result of Defendants’ false and misleading statements.

           335.   Had Plaintiffs and the other members of the Class been aware that the

  market price of Canopy securities had been artificially and falsely inflated by Defendants’

  misleading statements and by the material adverse information which Defendants did not

  disclose, they would not have purchased Canopy securities at the artificially inflated

  prices that they did, or at all.

           336.    As a result of the wrongful conduct alleged herein, Plaintiffs and other

  members of the Class have suffered damages in an amount to be established at trial.

           337.   By reason of the foregoing, Defendants have violated Section 10(b) of the

  1934 Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the

  other members of the Class for substantial damages which they suffered in connection

  with their purchase of Canopy securities during the Class Period.

                                          COUNT II

   Violations of Section 20(a) of the Exchange Act Against the Individual Defendants

           338.   Plaintiffs repeat and reallege each and every allegation contained in the

  foregoing paragraphs as if fully set forth herein.



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         339.    During the Class Period, the Individual Defendants participated in the

  operation and management of Canopy, and conducted and participated, directly and

  indirectly, in the conduct of Canopy’s business affairs. Because of their senior positions,

  they knew the adverse non-public information about Canopy’s misstatement of revenue

  and profit and false financial statements.

         340.    As officers and/or directors of a publicly owned company, the Individual

  Defendants had a duty to disseminate accurate and truthful information with respect to

  Canopy’s financial condition and results of operations, and to correct promptly any public

  statements issued by Canopy which had become materially false or misleading.

         341.     Because of their positions of control and authority as senior officers, the

  Individual Defendants were able to, and did, control the contents of the various reports,

  press releases and public filings which Canopy disseminated in the marketplace during

  the Class Period concerning Canopy’s results of operations. Throughout the Class Period,

  the Individual Defendants exercised their power and authority to cause Canopy to engage

  in the wrongful acts complained of herein. The Individual Defendants, therefore, were

  “controlling persons” of Canopy within the meaning of Section 20(a) of the Exchange

  Act. In this capacity, they participated in the unlawful conduct alleged which artificially

  inflated the market price of Canopy securities.

         342.    By reason of the above conduct, the Individual Defendants are liable

  pursuant to Section 20(a) of the Exchange Act for the violations committed by Canopy.




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                                    PRAYER FOR RELIEF

         WHEREFORE, plaintiffs, on behalf of themselves and the Class, prays for
  judgment and relief as follows:
         (a)     declaring this action to be a proper class action, designating plaintiffs as

  Lead Plaintiffs and certifying plaintiffs as class representatives under Rule 23 of the

  Federal Rules of Civil Procedure and designating plaintiffs’ counsel as Lead Counsel;

         (b)     awarding damages in favor of plaintiffs and the other Class members

  against all defendants, jointly and severally, together with interest thereon;

         (c)     awarding plaintiffs and the Class reasonable costs and expenses incurred

  in this action, including counsel fees and expert fees; and

         (d)     awarding plaintiffs and other members of the Class such other and further

  relief as the Court may deem just and proper.

                                 JURY TRIAL DEMANDED

         Plaintiffs hereby demand a trial by jury.
  Dated: June 14, 2021                           Respectfully submitted,

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                              CERTIFICATE OF SERVICE

         I hereby certify that on June 14, 2021, I electronically filed the foregoing Third

  Amended Class Action Complaint for Violations of the Federal Securities Laws with

  the Clerk of Court using the CM/ECF system, which will send notification of such to all

  CM/ECF participants.

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